                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                                                          No. CR 13-0328 JB

CHRIS BLATTNER,

              Defendant.

                           MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion to Withdraw Guilty

Plea, filed October 29, 2015 (Doc. 148)(“Motion”). The Court held hearings on the Motion on

November 10, 2015, November 23, 2015, December 2, 2015, and December 9, 2015. The

primary issue is whether Defendant Chris Blattner has given the Court a fair and just reason to

allow him to withdraw his guilty plea, by asserting that he took Lysergic Acid Diethylamide

(“LSD”) the evening before his plea colloquy with the Honorable Karen B. Molzen, Chief

United States Magistrate Judge. The Court has weighed the seven factors that the United States

Court of Appeals for the Tenth Circuit requires it to consider when determining whether to allow

a defendant to withdraw a guilty plea, and it determines that Blattner has not given the Court a

fair and just reason for permitting him to withdraw his plea. The Court, therefore, denies the

Motion.

                                    FINDINGS OF FACT

       Rule 12(d) of the Federal Rules of Criminal Procedure requires the Court to state its

essential findings on the record when deciding a motion that involves factual issues. See Fed. R.

Crim. P. 12(d) (“When factual issues are involved in deciding a [pretrial] motion, the court must
state its essential findings on the record.”).1 The findings of fact in the Memorandum Opinion

and Order shall serve as the Court’s essential findings for purposes of rule 12(d).

       1.      LSD’s Pharmacological Effects.

       1.      LSD2 has been in usage in the United States of America since the 1960s. See

Transcript of Hearing at 72:17-73:11 (Torrez, Tella)(taken November 23, 2015), filed December

4, 2015 (Doc. 165)(“Nov. 23 Tr.”).




       1
         Rule 12(d) applies to “pretrial motions.” Fed. R. Crim. P. 12(d). Blattner’s Motion is a
pretrial motion, requiring the Court to make essential findings of fact on the record. See Fed. R.
Crim. P. 12(d). Additionally, the Court finds it necessary to make findings of fact in this case
given the amount and complexity of the evidence involved, and the fact that the Court held three
lengthy evidentiary hearings -- on November 23, 2015, December 2, 2015, and December 9,
2015 -- in which numerous witnesses, including experts, testified. See United States v. Siddons,
2009 WL 4729885, at 3 (E.D. Pa. Dec. 10, 2009)(Diamond, J.)(making findings of fact pursuant
to rule 12(d) in deciding a motion to withdraw a guilty plea); United States v. Angilau, 2012 WL
346446, at *1 (D. Utah Feb. 1, 2012)(Campbell, J.)(same).
       2
        Swiss chemist Albert Hofmann first synthesized LSD in 1938 from lysergic acid, the
basic structure of the ergot alkaloids (e.g. ergotamine), which occurs in the cereal fungus
Claviceps purpurea. See Albert Hofmann, the Father of LSD, Dies at 102 at 1, N.Y. Times
(Apr. 30, 2008), http://www.nytimes.com/2008/04/30/world/europe/30hofmann.html (“Father of
LSD”); A. Pletscher & D. Ladewig, 50 Years of LSD: Current Status and Perspectives of
Hallucinogens: A Symposium of the Swiss Academy of Medical Sciences at 1 (1994)(“Fifty
Years of LSD”).         Five years later, in 1943, Hofmann discovered LSD’s peculiar
psychopharmacological effects, “when he accidentally ingested the substance that became
known to the 1960s counterculture as acid.” Father of LSD at 1; Fifty Years of LSD at 1.

       He then took LSD hundreds of times, but regarded it as a powerful and potentially
       dangerous psychotropic drug that demanded respect. More important to him than
       the pleasures of the psychedelic experience was the drug’s value as a revelatory
       aid for contemplating and understanding what he saw as humanity’s oneness with
       nature. That perception, of union, which came to Dr. Hofmann as almost a
       religious epiphany while still a child directed much of his personal and
       professional life.

Father of LSD at 1. LSD has been described as “the most powerful psychotropic substance
known,” Father of LSD at 1, and scientists view LSD as singularly unusual for three primary
reasons:


                                               -2-
       2.        LSD is used mostly by teenagers and young adults no older than their 20s,

although occasionally there are instances of older people using it. See Transcript of Hearing at

24:10-26:5 (taken December 2, 2015), filed December 8, 2015 (Doc. 172)(Court, Goldberg,

Kochersberger, Torrez)(“Dec. 2 Tr.”).

       3.        Today, LSD is used far less than in decades past, particularly in New Mexico.

See Dec. 2 Tr. at 26:6-15 (Goldberg, Torrez).

       4.        Although the exact mechanism is not completely understood, LSD seems to affect

some of the deepest and more central parts of the primitive brain in the areas where it is believed

that emotion, feelings, and perception are mediated3 -- the Hippocampus4 and the Cingulate

Gyrus.5 See Dec. 2 Tr. at 27:19-28:3 (Goldberg).



       The first feature which intrigued pharmacologists and psychiatrists was the
       extreme potency of the drug in inducing profound psychic alterations. Whereas
       other drugs had to be applied in quantities in the order of mg or g/kg, LSD already
       exhibits effects in doses below 1 µg/kg. This represented a challenge for
       pharmacologists, who soon found the drug to be a valuable research tool, since it
       showed high affinity, especially for 5-hydroxy-tryptamine receptor subtypes, but
       seemed to act also on the dopamine system. Secondly, LSD raised considerable
       hopes for psychiatrists. In the early days the drug was thought to produce a model
       psychosis imitating schizophrenia (a view which later had to be amended) and
       some people thought it might help in the elucidation of the pathophysiology of
       this mental disorder. In addition, LSD found application in the psychiatric
       therapy as a psycholytic, psychodysleptic or psychedelic agent. Thirdly, the drug
       also became of interest to ethnologists . . .

Fifty Years of LSD at 1-2. LSD, however, “did not remain in the scientific and medical scene,
but fell into the hands of esoterics and hippies and was used by hundreds and thousands of
people in mass-gatherings.” Fifty Years of LSD at 2. This uncontrolled propagation of LSD led
to use of the drug being subjected to severe legal restrictions, which seriously curtailed
pharmacological and clinical research with LSD. See Fifty Years of LSD at 2.
       3
        Mediate in the medical context is defined as “[s]ituated between, intermediate,” or “[t]o
effect something by means of an intermediary substance, as in complement-mediated
phagocytosis.” Mediate, Merriam-Webster Online Dictionary (2015).
       4
           The hippocampus is:
                                                -3-
       5.      The nature and duration of the effects of LSD may vary depending on factors such

as the product’s quality, the dose ingested, and the individual user’s experience, personality, and

metabolism. See Nov. 23 Tr. at 85:24-86:13 (Tella); Dec. 2 Tr. at 28:4-13 (Goldberg).

       6.      Whether a person might exhibit any observable symptoms after ingesting LSD

depends on several factors, including his or her personality, expectations, dosage, and tolerance.

See Nov. 23 Tr. at 78:10-19 (Tella).

       7.      LSD produces physiological effects on the brain and body, as well as

psychological effects. See Nov. 23 Tr. at 75:5-7 (Tella); Dec. 2 Tr. at 28:6:30:14 (Goldberg).

       8.      LSD’s physiological effects can include dilated pupils, increased blood pressure

and heart rate, increased body temperature, salivation, lacrimation,6 sweating, nausea, tremor,

and hyperreflexia -- which is enhanced reflexes of the muscular flexors -- dizziness,

piloerection,7 hypoglycemia, feelings of numbness, muscle weakness, and sleeplessness or

“wakefulness.” Nov. 23 Tr. at 75:22-76:9 (Tella); Dec. 2 Tr. at 28:14-20 (Goldberg).




       a curved elongated ridge that is an important part of the limbic system, extends
       over the floor of the descending horn of each lateral ventricle of the brain,
       consists of gray matter covered on the ventricular surface with white matter, and
       is involved in forming, storing, and processing memory.

Hippocampus, Merriam-Webster Online Dictionary (2015).
       5
        Cingulate Gyrus is defined as “a medial gyrus of each cerebral hemisphere that partly
surrounds the corpus callosum.” Cingulate Gyrus, Merriam-Webster Online Dictionary (2015).
       6
       Lacrimation is “the secretion of tears especially when abnormal or excessive.”
Lacrimation, Merriam-Webster Online Dictionary (2015).
       7
        Piloerection is the “involuntary erection or bristling of hairs due to a sympathetic reflex
usually triggered by cold, shock, or fright or due to a sympathomimetic agent.” Piloerection,
Merriam-Webster Online Dictionary (2015).
                                               -4-
       9.       LSD’s physiological effects are not always manifested in those who have ingested

the drug, and they are the same as, or very similar to, the physiological signs of anxiety. See

Dec. 2 Tr. at 30:15-31:11 (Goldberg, Kochersberger).

       10.      For example, any person who is placed in a circumstance that makes them

uncomfortable could experience dilated pupils, increased heart rate, sweating, and tremors. See

Dec. 2 Tr. at 30:25-31:3 (Goldberg).

       11.      A person coming into contact with an individual under LSD’s influence would not

normally observe most of LSD’s physiological symptoms -- such as dilated pupils, elevated

blood pressure, and dizziness -- in the absence of in-depth conversation, or mood and emotional

changes.     See Nov. 23 Tr. at 81:9-82:25 (Kochersberger, Tella); Dec. 2 Tr. at 31:4-32:4

(Goldberg, Kochersberger).

       12.      Many of LSD’s physiological symptoms, such as dizziness, nausea, and muscle

weakness, would generally be undetectable unless they were either very extreme, or the user

informed someone that he or she was experiencing those symptoms. See Dec. 2 Tr. at 45:18-

46:6 (Goldberg).

       13.      LSD also has psychological effects, including affectation of a person’s perception,

mood, emotion, intellectual process, and thoughts. See Nov. 23 Tr. at 74:21-24 (Tella).

       14.      Psychologically, LSD can produce anxiety, altered thinking, altered time

perception, convoluted and mixed sensory experiences -- such as hearing colors or seeing sounds

-- visual hallucinations, a sense of enhanced spirituality and spiritual experiences, loss of self, a

merging of the individual with the environment around the user, and a loss of boundaries in

terms of where the user ends and the world around the user begins. See Dec. 2 Tr. at 28:20-

29:11 (Goldberg).



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       15.     LSD may cause marked effects on mood and emotions, including sudden or

inappropriate laughing or crying without any or only a slight provocation, euphoria and

dysphoria. See Nov. 23 Tr. at 76:14-18 (Tella); id. at 83:9-86:3 (Kochersberger, Tella); Dec. 2

Tr. at 32:10-17 (Goldberg).

       16.     Even very perceptive observers may not know that someone, particularly a

seasoned drug user, is under LSD’s influence.        See Dec. 2 Tr. at 31:24-32:4 (Goldberg,

Kochersberger); id. at 45:3-17 (Goldberg, Torrez).

       17.     Individuals under LSD’s influence are focused on their own internal emotional

experiences, are not focused on whatever is going on around them, and tend to say whatever they

need to say to get out of the situation in which they are present in order to focus on their LSD

experience. See Dec. 2 Tr. at 35:7-21 (Goldberg).

       18.     An LSD “trip” begins approximately thirty minutes after the drug is ingested,

peaks in about four hours and it has a four-hour half-life, meaning that twelve hours after

ingesting the drug, a person is down to about an eighth of the initial dose. Dec. 2 Tr. at 29:12-25

(Goldberg). See Nov. 23 Tr. at 77:17-22 (Tella).

       2.      Blattner’s Pre-Trial Criminal History.

       19.     Blattner has been convicted of various felonies, misdemeanors, and juvenile

offenses. See Nov. 23 Tr. at 26:13-21 (Blattner, Torrez).

       20.     Blattner was convicted of trafficking in a controlled substance in 2000 in

Bernalillo County, New Mexico. See Nov. 23 Tr. at 26:13-21 (Blattner, Torrez).

       21.     Blattner was convicted of trafficking and manufacturing methamphetamine in

2004 in Bernalillo County. See Nov. 23 Tr. at 26:22-27:1 (Blattner, Torrez).




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       22.       On December 15, 2005, Blattner was convicted in the Second Judicial District,

County of Bernalillo, State of New Mexico, of the possession with the intent to distribute a

controlled substance -- methamphetamine. See Nov. 23 Tr. at 27:12-21 (Blattner, Torrez).

       23.       In June 2009, Blattner was convicted of trafficking and possession with intent to

distribute heroin in the Second Judicial District. See Nov. 23 Tr. at 27:12-17 (Blattner, Torrez).

       24.       On April 3, 2014, Blattner was convicted of second-degree murder with the

firearm enhancement in the Second Judicial District and voluntary manslaughter in the death of

Kathy Paquin, and was sentenced on both offenses to a total of twenty-seven years.8 See Nov.

23 Tr. at 28:2-29:1 (Blattner, Torrez).




       8
           Plaintiff United States of America also asks the Court to find:

       The defendant utilized Kathy Paquin’s credit card on numerous occasions
       including the purchase of various items and ammunition on August 6, 2012, a
       matter he denied during the November 23, 2015, hearing, even though the matter
       of the name on the credit card and its usage was a subject of a pretrial motion
       during the litigation in this case.

Government’s Proposed Findings of Fact and Conclusions of Law, filed December 17, 2015
(Doc. 177)(“United States’ Proposed Findings”). The Court held a pre-trial conference on April
1, 2015, where it granted in part and denied in part the requests in the Government’s Notice of
Intent to Present Ges Gestae or Intrinsic Evidence at Trial, filed February 17, 2015 (Doc. 80).
See Clerk’s Minutes, filed April 1, 2015 (Doc. 106). The Court orally ruled that at trial, Bill
Clark -- who is or was the Shooter’s Den manager -- could testify that: (i) on August 17, 2012,
when Blattner attempted to use a credit card with the first name of Kathy on it -- omitting the last
name of Paquin -- at Shooter’s Den; (ii) Clark refused the card because it was not in Blattner’s
name; (iii) Blattner explained that it was his aunt’s card; and (iv) Clark stated that he could not
take Blattner’s aunt’s card. The Court ruled, however, that Clark would not be allowed to testify
why he refused the credit card. See Transcript of Hearing at 41:1-42:3 (Court, Kochersberger,
Valencia)(taken April 1, 2015), filed April 22, 2015 (Doc. 117). A this point, however, the
United States has not proven to the Court -- in the hearing for the Motion or earlier -- that
Blattner did what they are alleging. Accordingly, the Court cannot soundly make this factual
finding by a preponderance of the evidence.
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       3.      The Federal Criminal Offense.

       25.     On February 6, 2013, a federal grand jury indicted Blattner on two counts of

Distribution of a Mixture and Substance Containing Methamphetamine in violation of 21 U.S.C.

§§ 841(a)(1) and (b)(1)(C); one count of Possessing a Firearm During and Relation to and in

Furtherance of a Drug Trafficking Crime in violation of U.S.C. §§ 924(c); and two counts of

Felon in Possession of a Firearm and Ammunition in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2). See Indictment at 1-3, filed February 6, 2013 (Doc. 2).

       26.     On April 9, 2014, Chief Magistrate Judge Molzen set a change of plea hearing for

April 17, 2014. See Notice of Hearing, filed April 9, 2014 (Doc. 39).

       27.     Chief Magistrate Judge Molzen terminated the hearing on April 17, 2014, upon

Blattner’s notification that he did not wish to enter a guilty plea. See Terminate Plea Hearings,

filed April 17, 2014 (No Docket Number Available).

       28.     Another change of plea hearing was then scheduled for May 23, 2014, during

which Blattner again advised that he did not wish to proceed with the hearing. See Notice of

Hearing, filed May 8, 2014 (Doc. 42); Plea Minute Sheet, filed May 23, 2014 (Doc. 46).

       29.     On August 26, 2014, a second federal grand jury charged Blattner in an eight-

count superseding indictment, which added additional counts for Possessing a Firearm in

Relation to and in Furtherance of a Drug Trafficking Crime in violation of 18 U.S.C. § 924(c);

Felon in Possession of a Firearm and Ammunition in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2); and Possession with Intent to Distribute a Mixture and Substance Containing

Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).          See Superseding

Indictment at 1-5, filed August 26, 2014 (Doc. 55).




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       30.     After Blattner filed numerous motions to continue the trial setting, all of which

the Court granted, see, e.g., Order Granting Continuance of Trial, filed August 1, 2013 (Doc.

25); Order Granting Continuance of Trial, filed December 4, 2013 (Doc. 31); Order Granting

Continuance of Trial, filed October 30, 2014 (Doc. 75), the Court set the trial for April 13, 2015,

see Order Continuing March 16, 2015 Trial, filed March 2, 2015 (Doc. 82), and held a hearing

on several pretrial motions on April 9, 2015, see Clerk’s Minutes, filed April 9, 2015 (Doc. 120).

       31.     On April 10, 2015, Blattner pled guilty before Chief Magistrate Judge Molzen.

See Plea Minute Sheet, filed April 10, 2015 (Doc. 116); Plea Agreement, filed April 10, 2015

(Doc. 115)(“Plea Agreement”).

       4.      Blattner’s Incarceration at the Santa Fe County Adult Detention Center.

       32.     At the time Blattner ultimately entered his guilty plea on April 10, 2015, he had

been an inmate at the Santa Fe County Adult Detention Center for at least one year. See Nov. 23

Tr. at 7:20-8:1 (Blattner, Kochersberger).

       33.     To prevent the introduction of contraband through the mail at the Santa Fe County

Adult Detention Center, the mail clerk scans9 the mail, opens it, inspects the envelope and the



       9
        Sergeant Rita Archuleta did not explain what he meant by “scans.” The Court infers that
Archuleta is referring to an “Ion Mobility Spectrometry (‘IMS’) device[] (also referred to [as an]
ion scanner[]).” Use of Ion Scanners in Correctional Facilities: An International Review,
Correctional Service of Canada (July 2011), http://www.csc-scc.gc.ca/research/005008-rr11-01-
eng.shtml (“Use of Ion Scanners”). An IMS device “may be employed as a non-intrusive search
tool for inmates, staff and visitors, as well as for incoming mail and parcels.” Use of Ion
Scanners at 1. The Correctional Service of the Government of Canada has explained how IMS
units operate:

       An IMS unit is a type of trace detecting device that measures the deflection of
       particles after they are exposed to an electric field. The speed at which the
       particles move helps to determine the substance of origin. In a correctional
       setting, ion scanners may be placed at front entrances or within the mail room of
       the prison, where any object can be swiped. IMS devices detect minute traces of
       substances programmed into the unit. Samples are collected by wiping or
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letter, and, if there is any stain on the letter or anything suspicious, the mail clerk will reject the

mail and return it to the sender.10 See Dec. 2 Tr. at 98:7-12 (Archuleta).

        34.     If there is some stain on the letter or anything to the effect that it is suspicious, the

mail clerk will reject the letter and return it to the sender, or if there was a strong suspicion that it

was contraband, it would be forwarded to law enforcement.               See Dec. 2 Tr. at 98:16-18

(Archuleta).

        35.     Prisoners are able to obtain illegal substances and other contraband in the Santa

Fe County Adult Detention Center, despite the facility banning those substances. See Dec. 2 Tr.

69: 12-17 (Kochersberger, Ortega); id. at 90:16-19 (Kochersberger, Valdo); Transcript of

Hearing at 14:6-17 (Heard, Kochersberger)(taken December 9, 2015), filed December 22, 2015

(Doc. 178)(“Dec. 9 Tr.”).

        36.     Despite frequent shakedowns and the use of scanners at the Santa Fe County

Adult Detention Center, security is unable to catch all the drugs present in the facility. See Dec.

9 Tr. at 14:10-17 (Heard, Kochersberger).




        vacuuming objects and then placing the filter or swipe into the unit. Up to six
        seconds later, the results are displayed.

        The efficiency and portability of IMS units has made them a marketable tool in
        combating drug supply. The device is user-friendly, requiring only a few hours of
        training. Furthermore, IMS devices, in comparison with other trace detection
        devices, are less costly to purchase and maintain. The speed at which results are
        revealed is an additional benefit of IMS.

Use of Ion Scanners at 1 (citation omitted).
        10
          At the December 2, 2015, hearing, Archuleta testified that if a letter contains any sort of
stains or anything indicating that it is suspicious, he will “reject it and send it out.” Dec. 2 Tr. at
98:7-12 (Archuleta). The Court interprets Archuleta’s use of the phrase “send it out,” as
meaning that the mail clerk will provide the letter to the postal service to return it to the sender.
                                                 - 10 -
       37.     Inmates are able to acquire illegal drugs through various channels, including the

mail, Santa Fe County Adult Detention Center employees, visitors, and other inmates. See Dec.

2 Tr. at 90:11-91:12 (Kochersberger, Valdo).

       38.     LSD, however, is an uncommon drug in correctional settings and is an uncommon

drug at the Santa Fe County Adult Detention Center. See Dec. 2 Tr. at 64:17-22 (Ortega,

Torrez); id. at 97:23-100:25 (Archuleta, Kochersberger).11

       39.     It would in theory be possible, however, for the Santa Fe County Adult Detention

Center inmates to come into possession of paper that had been soaked in drugs, including LSD.

See Dec. 2 Tr. at 91:25-92:6 (Kochersberger, Valdo); id. at 101:4-19 (Archuleta, Kochersberger).

       40.     Blattner is a good artist and the Santa Fe County Adult Detention Center’s main

focus on Blattner was his tattooing paraphernalia. See Dec. 2 Tr. at 61:17-25 (Ortega, Torrez).

       41.     Throughout his stay at the Santa Fe County Adult Detention Center, Blattner was

found with contraband, including weapons, tattoo paraphernalia -- including a tattoo machine -- a

syringe, “self-made hooch,”12 weapons, and alcohol. Dec. 2 Tr. at 91:13-24 (Kochersberger,

Valdo); id. at 68:1-70:19 (Kochersberger, Ortega).

       42.     Syringes are commonly used to administer drugs. See Dec. 2 Tr. at 92:14-16

(Kochersberger, Valdo); id. at 69:9-10 (Kochersberger, Ortega).




       11
         In her eleven years at the Santa Fe County Adult Detention Center, Sergeant Rita
Archuleta has never investigated a case that involved the smuggling or the introduction of LSD
into the Santa Fe County Adult Detention Center. See Dec. 2 Tr. at 97:23-98:2 (Archuleta,
Torrez). Archuleta has never encountered LSD at the Santa Fe County Adult Detention Center.
See Dec. 2 Tr. at 100:21-25 (Archuleta, Kochersberger).
       12
        Hooch is “alcoholic liquor especially when inferior or illicitly made or obtained.”
Hooch, Merriam-Webster Online Dictionary (2015).
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       43.    The Santa Fe County Adult Detention Center employed Sergeant Anthony Ortega

during Blattner’s stay there, and Ortega had contact with Blattner. See Dec. 2 Tr. at 59-61

(Ortega).

       44.    Blattner had been allowed to have a chair in his cell because of a skin condition;

the public safety director said that the chair was contraband, which could be used as escape

paraphernalia, and ordered Ortega to take the chair away from Blattner. See Dec. 2 Tr. at 72:1-

15 (Kochersberger, Ortega).

       45.    Blattner threatened to kill the director because of the removal of the chair from his

cell. See Dec. 2 Tr. at 72:16-18 (Kochersberger, Ortega).

       46.    Blattner wanted the chair for doing tattoos on other inmates. See Dec. 2 Tr. at

73:21-25 (Kochersberger, Ortega).

       47.    Blattner took the motor for the CD player in the computer -- which is loaned to

inmates so they can review their case files or to look up case law -- for the purpose of having a

tattoo machine. See Dec. 2 Tr. at 74:5-77:16 (Kochersberger, Ortega).

       48.    Anthony Valdo was Blattner’s case manager at the Santa Fe County Adult

Detention Center. See Dec. 2 Tr. at 81:25-83:12 (Torrez, Valdo).

       49.    Valdo met with Blattner on a regular basis from March, 2014, until his plea on

April 10, 2015. See Dec. 2 Tr. at 85:2-17 (Torrez, Valdo).

       50.    Blattner never exhibited anything out of the ordinary that might indicate that he

was under the influence of drugs or alcohol. See Dec. 2 Tr. at 87:19-88:18 (Torrez, Valdo); id.

at 93:1-4 (Kochersberger, Valdo).

       51.    Blattner manipulates situations to get his way. See Dec. 2 Tr. at 80:9-24 (Court,

Kochersberger, Ortega, Torrez).



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       52.    Blattner used drugs while incarcerated at the Santa Fe County Adult Detention

Center. See Dec. 2 Tr. at 92:23-25 (Kochersberger, Valdo).

       53.    Little Son Heard was Blattner’s therapist at the Santa Fe County Adult Detention

Center. See Dec. 9 Tr. at 7:20-22 (Heard, Kochersberger).

       54.    Heard came into contact with Blattner approximately once per week, sometimes

more often and sometimes less. See Dec. 9 Tr. at 12:17-22 (Heard).

       55.    Blattner reported “social anxiety” to Heard and stated that he had the problem

since childhood. Dec. 9 Tr. at 17:6-18:21 (Heard, Torrez).

       56.    Heard reported that there were times where Blattner was more anxious than other

times, and there were other times where he seemed relaxed. See Dec. 9 Tr. at 35:3-7 (Heard,

Kochersberger).

       57.    There were only two occasions, on May 22, 2015 and August 13, 2015, where

Blattner was “possibly altered.” Dec. 9 Tr. at 13:3-14:5 (Heard, Kochersberger).

       58.    On May 22, 2015, Heard noted in Blattner’s file that he was “possibly altered.”

Dec. 9 Tr. at 13:3-9 (Heard, Kochersberger).

       59.    On August 13, 2015, Heard noted in Blattner’s file that he appeared “somewhat

altered.” Dec. 9 Tr. at 13:18-22 (Heard, Kochersberger).

       60.    On both occasions, Blattner was under the influence of illegal narcotics. See Dec.

9 Tr. at 13:6-14:5 (Heard, Kochersberger).

       61.    On both occasions that Blattner was under the influence of illegal narcotics,

Heard advised her supervisor, Ortega, of her suspicion. See Dec. 9 Tr. at 15:8-18 (Heard,

Kochersberger).




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       62.     On one of these occasions, Ortega advised Heard that he also suspected that

Blattner might be using drugs and had already scheduled a shakedown. See Dec. 9 Tr. at 15:15-

22 (Heard, Kochersberger).

       63.     On the other occasion, Ortega advised Heard that he had already scheduled a

shakedown. See Dec. 9 Tr. at 15:23-16:2 (Heard, Kochersberger).

       5.      April 19, 2015 -- the Day Before Blattner’s Plea Hearing.

       64.     On April 9, 2015 -- the day before Blattner’s April 10, 2015, plea hearing --

Blattner did not acquire LSD from another inmate at the Santa Fe County Adult Detention

Center.13



       13
          The Court concludes that Blattner has not proven by a preponderance of the evidence
that he acquired and consumed LSD on the evening of April 9, 2015, and that he was therefore
under LSD’s influence during his April 10, 2015 plea hearing. The Court has carefully
considered Blattner’s extensive testimony in which asserted that he acquired LSD on April 9,
2015, ingested it, and was therefore under the drug’s influence at his plea hearing. See Nov. 23
Tr. at 7:4-63:2 (Blattner, Court, Kochersberger, Torrez). At his April 10, 2015, plea hearing,
however, Blattner, after being placed under oath: (i) informed Chief Magistrate Judge Molzen
that he had no serious physical or mental illnesses which could affect his ability to understand
the proceedings, see Plea Tr. at 4:8-18 (Blattner); (ii) stated that he had “a little anxiety issue,”
for which he was not taking any medication, see Plea Tr. at 4:20-22 (Blattner); (iii) affirmed that
he was able to function during the hearing even with the “little” anxiety he had, see Plea Tr. at
4:20-25 (Blattner); (iv) told the Court that he was not under the influence of any drugs,
medicines, or alcohol, see Plea Tr. at 5:1-3 (Blattner); and (v) told the Court that he was able to
understand everything that was happening. See Plea Tr. at 5:4-6 (Blattner). Blattner was lying
either at his April 10, 2015 plea hearing or lying now regarding his ingestion of LSD before the
plea hearing. This fact undercuts Blattner’s credibility. In the end, the Court concludes that he is
lying now and told Chief Magistrate Judge Molzen the truth on April 10, 2015.
        Dr. Tella’s and Dr. Goldberg’s testimony do not provide much clarity. As explained
above: (i) whether a person might exhibit any observable symptoms after ingesting LSD depends
on several factors, including the person’s personality, expectations, dosage, and tolerance, see
Nov. 23 Tr. at 78:10-19 (Tella); (ii) LSD’s physiological effects are not always manifested in
those who have ingested the drug, and they are the same as, or very similar to, those exhibited by
one who is suffering from anxiety, see Dec. 2 Tr. at 30:15-31:11 (Goldberg, Kochersberger); (iii)
a person coming into contact with an individual who is under LSD’s influence would not
normally observe most of LSD’s physiological symptoms -- such as dilated pupils, elevated
blood pressure, and dizziness -- in the absence of in-depth conversation or mood and emotional
changes, see Nov. 23 Tr. at 81:9-82:25 (Kochersberger, Tella); Dec. 2 Tr. at 31:4-32:4
                                               - 14 -
(Goldberg, Kochersberger); (iv) many of LSD’s physiological symptoms, such as dizziness,
nausea, and muscle weakness, would generally be undetectable unless they were either very
extreme, or the user informed someone that he or she was experiencing those symptoms, see
Dec. 2 Tr. at 45:18-46:6 (Goldberg); and (v) even quite perceptive observers may not know that
someone, particularly a seasoned drug user, is under LSD’s influence, see Dec. 2 Tr. at 31:24-
32:4 (Goldberg, Kochersberger); id. at 45:3-17 (Goldberg, Torrez). Further, neither Dr. Tella
nor Dr. Goldberg could determine, based on the plea hearing’s recording whether Blattner was or
was not under LSD’s influence on April 10, 2015. Moreover, Blattner’s anxiety during the plea
hearing and his laughing at arguably inappropriate times is as consistent with his history of
experiencing anxiety as it is with him being under LSD’s influence.
       In sum, Blattner has the burden to prove by a preponderance of the evidence that he was
under LSD’s influence at his plea hearing on April 10, 2015. Blattner has not, however,
produced sufficient evidence that pushes him over the finish line. Ultimately, Blattner was given
the opportunity to identify the individual who allegedly provided him with the LSD, but he
refused to name his source.

       MR. TORREZ: And you were held -- you’ve indicated that you received LSD
       from another inmate. What is the name of that inmate?

       THE WITNESS: I would not reveal that information. I’m not going to get
       anybody in trouble.

       MR. TORREZ: I’m sorry?

       THE WITNESS: I’m not going to snitch somebody off, man. The point is that --

       MR. TORREZ: Your Honor, I ask that he be forced to answer the question.

       THE COURT: You have to answer the question.

       THE WITNESS: I’m not going to, obviously.

       THE COURT: Well, you have to.

       THE WITNESS: Well, I’m not going to incriminate somebody else, man. That’s
       not what I do. That’s not cool at all. You don’t throw your friends under this
       fucking guy’s --

       THE COURT: Tell us who.

       THE WITNESS: Ultimately, it’s irrelevant. I’m not incriminating somebody else.

       THE COURT: It’s not irrelevant.

       THE WITNESS: I’m not going to –
                                             - 15 -
THE COURT: Mr. Blattner, tell the Court who you got the LSD from.

THE WITNESS: I’m not going to do that.

THE COURT: What do you want me to do?

THE WITNESS: That’s just not -- you know, that's not –

THE COURT: Hold on. I’m talking to Mr. Torrez. What do you want, Mr.
Torrez?

MR. TORREZ: Your Honor, there is no way for us to verify these things unless
we can get full and explicit --

THE COURT: I understand your predicament. Tell me what to do.

MR. TORREZ: I’d ask that the Court ask him once more and direct him to
answer the question. Otherwise, consider the possibility of holding him in
contempt or dismissing the motion for his failure to cooperate with the --

THE WITNESS: That’s a good one.

MR. TORREZ: -- the questioning in this case.

THE COURT: Well, he’s obviously failing to cooperate in bringing his motion.
So I’ll -- you know, I certainly -- if he’s not going to allow us to test his motion in
any way, I’ll have to take that into consideration when I’m ruling on the motion.
If I hold him in contempt – he’s already in custody, so I don’t know what I can
really do to force him to testify. I’m open to suggestions.

MR. TORREZ: May I have a moment, Your Honor?

THE COURT: Certainly.

(A discussion was held off the record.)

THE WITNESS: This is ridiculous.

MR. TORREZ: Well, Your Honor, in view of the fact that he will not answer the
questions, and this is his motion, I’d ask the Court to consider striking his
testimony.


                                        - 16 -
       65.       Blattner did not ingest LSD sometime after 9:00 p.m. on the night before his April

10, 2015 plea hearing.14

       66.       Because Blattner did not acquire or ingest any LSD on April 9, 2015, he did not

experience effects such as euphoria, visual hallucinations, detachment from reality, and

sleeplessness.15

       67.       On the evening of April 9, 2015, after lockdown at approximately 11:30 p.m.,

Blattner was informed for the first time that he was scheduled for a plea hearing the following

morning.16 See Nov. 23 Tr. at 13:12-20 (Blattner).




       THE COURT: Well, I’m not going to strike his testimony. But obviously, if he’s
       not going to support it by telling us who he bought the LSD from, I think it really
       hurts his motion.

Nov. 23 Tr. at 33:24-36:18 (Blattner, Court, Torrez). If Blattner had named his source, it would
have enabled the Court to verify the story he now presents in the Motion, and it might have
pushed the ball over the finish line. Without evidence corroborating Blattner’s story, however,
the Court concludes, that Blattner has not shown, by a preponderance of the evidence, that on
April 9, 2015 -- the day before Blattner’s April 10, 2015, plea hearing -- he did acquire LSD
from another inmate at the Santa Fe County Adult Detention Center and that he was therefore
under LSD’s influence at his April 10, 2015 plea hearing.
       14
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       15
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       16
        Blattner asks the Court to find that, “[s]ometime after lockdown, Mr. Blattner was
informed that he was scheduled for a plea hearing the following morning, however, at that point,
the LSD was already in his system.” Defendant’s Proposed Findings of Fact and Conclusions of
Law ¶ 9, at 2, filed December 16, 2015 (Doc. 176)(“Defendant’s Proposed Findings”)(emphasis
added). At the November 23, 2015 hearing, Blattner testified:

       Q: What time did you find out that you had court the next day?

       A: About -- it was after 10:45. It was after lockdown. Probably like maybe
       11:30, the [corrections officer] comes around. They usually don’t tell you until
                                               - 17 -
       5.        Blattner’s April 10, 2015, Plea Hearing.

       68.       On April 10, 2015, Blattner, at a change of plea hearing before Chief Magistrate

Judge Molzen, entered a guilty plea to counts 2 and 5 of the Superseding Indictment, each

charging a violation of 18 U.S.C. § 924(c). See Plea Minute Sheet, filed April 10, 2015 (Doc.

116); Plea Agreement at 1-9.

       69.       At the time of the April 10, 2015, plea hearing, Blattner had not slept in over

twenty-four hours. See Nov. 23 Tr. at 15:24-16:7 (Blattner, Kochersberger).

       70.       Blattner had not received or reviewed the Plea Agreement before his arrival in

court for the plea hearing on April 10, 2015.17 See Nov. 23 Tr. at 38:12-39:24 (Blattner, Torrez).

       71.       At the outset of the plea hearing, Blattner was placed under oath, and Chief

Magistrate Judge Molzen told Blattner that he had to be truthful with the Court, and that he could

be prosecuted for perjury or making a false statement if he was untruthful. See Transcript of




       after your lockdown, so you can’t call somebody to help you escape, or whatever
       their reason is.

Nov. 23 Tr. at 13:12-20 (Blattner). The Court has no reason to doubt Blattner’s testimony that
he was informed that he was scheduled for a plea hearing sometime after lockdown on April 9,
2015.
        The Court will therefore make that factual finding. Because the Court has concluded that
Blattner did not acquire or consume LSD on the evening of April 9, 2015, however, it does not
conclude that “at that point, the LSD was already in his system.” Blattner also asks the Court to
find that, “[a]t the time Mr. Blattner ingested the LSD, he was unaware that he was scheduled to
attend a plea hearing the following morning.” Defendant’s Proposed Findings ¶ 8, at 2. Because
the Court concludes that Blattner did not acquire or consume LSD on April 9, 2015, it will not
adopt the phrase “[a]t the time Mr. Blattner ingested the LSD.” The Court, however, has no
reason to doubt that Blattner was unaware that he was scheduled to attend a plea hearing on the
morning of April 10, 2015, until he was informed about the hearing sometime after lockdown on
April 9, 2015. The Court has seen defendants brought to court often without advance notice that
they were coming.
       17
            The Court has no reason or evidence to doubt this factual assertion.


                                                 - 18 -
Change of Plea Hearing at 2:18-3:3 (taken April 10, 2015), filed November 4, 2015 (Doc.

149)(Blattner, Court)(“Plea Tr.”).

       72.     During the plea hearing, Blattner acknowledged that, if he did not understand

everything or if he had any questions at all, he should stop and ask for time to speak with his

counsel, or ask the Court to provide more explanation. See Plea Tr. at 2:24-3:3 (Blattner, Court).

       73.     Blattner also informed Chief Magistrate Judge Molzen that he had no physical or

mental illnesses or conditions which could affect his ability to understand the proceedings. See

Plea Tr. at 4:8-18 (Blattner, Court).

       74.     At the plea hearing, Blattner stated that he had “a little anxiety issue,” for which

he was not taking any medication. Plea Tr. at 4:20-22 (Blattner, Court).

       75.     Blattner was feeling anxious, under a lot of pressure, and uncomfortable at the

plea hearing.18 See Nov. 23 Tr. at 17:25-18:7-20 (Blattner); id. at 21:23-25 (Blattner).

       76.     Blattner answered some of the questions in the affirmative so that he could get the

hearing over with sooner. See Nov. 23 Tr. at 18:18-20 (Blattner); id. at 20:16-24 (Blattner); id.

at 21:23-25 (Blattner); id. at 24:6-7 (Blattner); id. at 25:15-19 (Blattner).19



       18
         The Court incorporates its analysis from footnote 13 and applies it to this factual
finding. The Court finds that Blattner was feeling very pressured and anxious at the hearing, but
will not find, as Blattner suggests, that he “continued to suffer from visual hallucinations.”
Defendant’s Proposed Findings ¶ 15, at 2.
       19
         Blattner asks that the Court find that he answered all of Chief Magistrate Judge
Molzen’s questions in the affirmative, but again, that is not a true statement. Blattner gave a
number of negative answers. See, e.g., Plea Tr. at 4:16-18 (Blattner, Court)(“THE COURT: Let
me ask you; do you have any serious physical or mental illnesses? THE DEFENDANT: No.
No.”); id. at 4:21 (Blattner, Court)(“THE COURT: Okay. Do you take medication for that?
THE DEFENDANT: Not presently, no.”); id. at 5:1-3 (Blattner, Court)(“THE COURT: And
today are you under the influence of any drugs, medicines, or alcohol? THE DEFENDANT:
No.”). Accordingly, the Court finds that Blattner answered only some questions in the
affirmative.

                                                - 19 -
       77.       Blattner affirmed that he was able to function during the hearing even with the

“little” anxiety he had. Plea Tr. at 4:20-25 (Blattner, Court).

       78.       At the plea hearing and while under oath, Blattner told Chief Magistrate Judge

Molzen that he was not under the influence of any drugs, medicines, or alcohol. See Plea Tr. at

5:1-3 (Blattner, Court).

       79.       At the plea hearing, Blattner told Chief Magistrate Judge Molzen that he was able

to understand everything that was happening. See Plea Tr. at 5:4-6 (Blattner, Court).

       80.       Blattner informed Chief Magistrate Judge Molzen that there was nothing

interfering with his ability to understand the proceedings. See Plea Tr. at 5:7-9 (Blattner, Court).

       81.       Because Blattner was not under LSD’s influence, when he arrived at the

courthouse for his plea hearing on April 10, 2015, he was not experiencing any effects of LSD.20

       82.       Because Blattner was not under LSD’s influence, he was able to read the

documents that his attorney presented him at the plea hearing.21

       83.       Because Blattner was not under LSD’s influence, he did not continue to suffer

from visual hallucinations.22

       84.       Because Blattner was not under LSD’s influence, he was able to understand and

process the questions Chief Magistrate Judge Molzen asked him during the plea colloquy.23



       20
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       21
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       22
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       23
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
                                               - 20 -
       85.       Because Blattner was not under LSD’s influence during the plea colloquy, he was

capable of making informed decisions.24

       86.       Because Blattner was not under LSD’s influence, he knew what he was saying

during the plea colloquy and was not solely responding in an attempt to conclude the hearing.25

       87.       Because Blattner was not under LSD’s influence, the drug did not impair his

ability to make informed decisions.26

       88.       Blattner agreed to some questions asked of him by the Court so that he could end

the process and leave the courtroom.27      See Nov. 23 Tr. at 21:23-25 (Blattner); id. at 24:6-10

(Blattner); id. at 25:15-19 (Blattner); id. at 37:21-23 (Blattner).

       89.       Blattner “on a number of times” told his attorney -- Donald Kochersberger -- that

“he was using illegal drugs while incarcerated.” Transcript of Hearing at 16:15-17:2 (Court,




       24
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       25
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       26
            The Court incorporates its analysis from footnote 13 and applies it to this factual
finding.
       27
          Blattner asks the Court to find that, “[d]ue to his altered state, Mr. Blattner agreed to the
questions asked of him by the Court so that he could end the process and leave the courtroom.”
Defendant’s Proposed Findings ¶ 21, at 3. Because the Court has found that Blattner was not on
LSD during his plea hearing, and because he did not answer all questions affirmatively, it will
strike the language “[d]ue to his altered state” and find that Blattner agreed to only some of the
questions that Chief Magistrate Judge Molzen asked him so that he could end the process and
leave the courtroom.


                                                - 21 -
Kochersberger)(taken November 10, 2015), filed November 19, 2015 (Doc. 158)(“Nov. 10

Tr.”).28 See Motion at 2.

       90.     Mr. Kochersberger did not believe Blattner.       See Nov 10 Tr. at 16:15-17:2

(Kochersberger).29

       91.     On the day of his plea hearing -- April 10, 2015 -- Blattner informed Mr.

Kochersberger that he was under LSD’s influence and “that the windows looked to be an odd

color or a pretty color, different than they actually appeared in the courtroom.” Dec. 9 Tr. at

37:3-20 (Court, Kochersberger). See Nov. 23 Tr. at 45:2-46 (Blattner).30


       28
        There is no indication that before Blattner’s plea hearing on April 10, 2015, while in the
presence of Mr. Kochersberger for a hearing, meeting, or otherwise, he ever indicated to Mr.
Kochersberger that he was at that moment under the influence of illegal drugs.
       29
          The Court infers that Mr. Kochersberger did not believe Blattner based on his
representation to the Court that: “Certainly by the fact that I haven’t brought it to anyone’s
attention you can infer what I believed to be the actual truth behind those assertion goes[.]” Nov.
10 Tr. at 16:1-4 (Kochersberger). That Mr. Kochersberger did not believe that Blattner used
drugs while incarcerated at the Santa Fe County Adult Detention Center, does not undercut the
Court’s factual finding that Blattner used drugs while incarcerated at the Santa Fe County Adult
Detention Center. See Factual Finding 52, supra at 13 (“Blattner used drugs while incarcerated
at the Santa Fe County Adult Detention Center.”); Factual Finding 60, supra at 13 (“On both
occasions, Blattner was under the influence of illegal narcotics.”).
       30
           The United States contends that the Court must assume that there was no
communication regarding LSD usage the day of the plea hearing because Mr. Kochersberger
would have been under an ethical obligation to continue the plea proceeding. See Response at 5.
First, the Court credits Blattner’s testimony and Mr. Kochersberger’s representations to the Court
and makes a factual finding that Blattner informed Mr. Kochersberger that he was under LSD’s
influence at his plea hearing on April 10, 2015. Second, while the Court agrees with the United
States that, Mr. Kochersberger would have acted ethically under the circumstances, see Response
at 5, the United States does not identify what ethical rule Mr. Kochersberger might have violated
by not continuing the plea hearing when Blattner informed him that he was under LSD’s
influence. The Court agrees that if Mr. Kochersberger believed that Blattner was under LSD’s
influence, he might have violated some ethical duty by not continuing the plea hearing. Here,
however, the Court makes a factual finding that Mr. Kochersberger did not believe Blattner that
he was under LSD’s influence at the April 10, 2015, plea hearing, and the Court cannot identify
any ethical duty that required Mr. Kochersberger to continue the plea hearing, where he did not
believe that his client was under LSD’s influence.

                                              - 22 -
          92.   Mr. Kochersberger did not believe Blattner that he was under LSD’s influence at

the April 10, 2015, plea hearing.31

          93.   The Court has found Mr. Kochersberger to be an ethical, helpful and credible

lawyer.

          94.   Blattner began laughing at seemingly inappropriate times during the April 10,

2015, plea colloquy. See Nov. 23 Tr. at 22:14-16 (Blattner); id. at 83:13-17 (Tella); Dec. 2 Tr. at

32:10-12 (Goldberg, Kochersberger).

          95.   Blattner does not now have a clear memory of his conversations with his attorney

or the plea hearing on April 10, 2015. See Nov. 23 Tr. at 16:21-22 (Blattner).

          96.   To the extent that Blattner related any factual matters to Chief Magistrate Judge

Molzen at the plea hearing, his recollection of those facts was based on their presence in the

discovery that the United States provided in this case. See Nov. 23 Tr. at 54:19-56:10 (Blattner);

Dec. 2 Tr. at 5:1-9 (Blattner, Torrez).

          97.   Blattner took several additional minutes to confer with Mr. Kochersberger before

entering into the Plea Agreement. See Plea Tr. at 16:16-16:16 (Blattner, Court, Kochersberger).



          31
          Mr. Kochersberger never stated that he did not believe Blattner when Blattner informed
him at the April 10, 2015, plea hearing, that he was under LSD”s influence and “that the
windows looked to be an odd color or a pretty color, different than they actually appeared in the
courtroom.” Dec. 9 Tr. at 37:3-20 (Court, Kochersberger). The Court, however, infers that Mr.
Kochersberger did not believe that Blattner was under LSD’s influence on April 10, 2015, based
on the Court’s factual finding that when Blattner previously informed Mr. Kochersberger of his
drug use while in prison Mr. Kochersberger did not believe him. See Factual Finding 90, supra
at 22. See Nov. 10 Tr. at 16:24-17:2 (Kochersberger)(“Certainly by the fact that I haven’t
brought it to anyone’s attention you can infer what I believed to be the actual truth behind those
assertion goes[.]”). Moreover, the Court does not think that Mr. Kochersberger would have
permitted Blattner to continue the plea hearing if he had believed that Blattner was under LSD’s
influence. The Court therefore makes a factual finding that Mr. Kochersberger did not believe
that Blattner was under LSD’s influence at the April 10, 2015, plea hearing.



                                              - 23 -
       98.     Afterwards, Blattner confirmed to Chief Magistrate Judge Molzen that he had had

enough time to confer with Mr. Kochersberger, that Mr. Kochersberger had answered all of his

questions, and that he was satisfied with Mr. Kochersberger’s representation. See Plea Tr. at

17:8-25 (Blattner, Court).

       99.     Blattner confirmed that nobody was threatening him if he did not plead guilty and

that he was entering into the Plea Agreement voluntarily. See Plea Tr. at 18:1-19:9 (Blattner,

Court, Kochersberger).

       100.    After a lengthy exchange involving Blattner, Mr. Kochersberger, Chief Magistrate

Judge Molzen, and the United States, Blattner then considered not entering into the Plea

Agreement over the factual basis for his August 6, 2012, possession of firearms, informing his

counsel: “You know, let’s just go on and do the trial thing, man.” Plea Tr. at 16:18-28:15

(Blattner, Court, Kochersberger, Torrez, Valencia).

       101.    The plea hearing was adjourned, with Chief Magistrate Judge Molzen stating:

“Okay. So, I’ll let Judge Browning know that it looks like we’ll be proceeding to a trial on

Monday.” Plea Tr. at 28:3-15 (Blattner, Court, Kochersberger, Valencia).

       102.    Blattner again conferred with Mr. Kochersberger and the plea hearing then

resumed. See Plea Tr. at 28:16-19 (Court).

       103.    Chief Magistrate Judge Molzen noted that she “had been attempting to establish a

factual basis with Mr. Blattner on Counts Two and Five, to which he has pled guilty.” Plea Tr. at

28:24-29:1 (Court).

       104.    Chief Magistrate Judge Molzen reminded Blattner that he was under oath and that

he needed to tell the truth. See Plea Tr. at 29:2-7 (Blattner, Court).




                                                - 24 -
          105.   Blattner acknowledged that he understood that. See Plea Tr. at 29:2-7 (Blattner

Court).

          106.   In response to questioning by Mr. Kochersberger, Blattner admitted that he gave

methamphetamine to Elizabeth Taylor, that when he did so he was in possession of one or more

firearms, and that he had those firearms on his person at the time of the transfer of the

methamphetamine to Taylor.         See Plea Tr. at 30:9-31:14 (Blattner, Court, Kochersberger,

Valencia).

          107.   Chief Magistrate Judge Molzen, Mr. Kochersberger, and the United States all

agreed that Blattner’s responses to Mr. Kochersberger’s questioning stated the elements of the

offense. See Plea Tr. at 31:15-32:1 (Court, Kochersberger, Valencia).

          108.   Blattner then confirmed that he understood that as a term of his plea agreement, if

Judge Browning were to accept it, he would go to prison for thirty years. See Plea Tr. at 32:2-36

(Blattner, Court).

          109.   Blattner confirmed that he was entering into the guilty plea voluntarily and that

nobody was forcing him to do so. See Plea Tr. at 32:7-11 (Blattner, Court).

          110.   Chief Magistrate Judge Molzen then accepted Blattner’s guilty plea and adjudged

him guilty of those crimes. See Plea Tr. at 32:12-25 (Blattner, Court).

          111.   At the close of the plea hearing, Chief Magistrate Judge Molzen asked Blattner

whether he understood everything that was happening and Blattner responded, “Yes.” Plea Tr. at

33:7-9 (Blattner, Court).

          112.   She also asked whether this was how Blattner wanted to proceed and Blattner

responded, “Yeah.” Plea Tr. at 33:10-12 (Blattner, Court).




                                                - 25 -
       113.    Blattner also confirmed to Chief Magistrate Judge Molzen that he had sufficient

time with Mr. Kochersberger. See Plea Tr. at 33:13-15 (Blattner, Court).

       114.    Chief Magistrate Judge Molzen, in the Court’s experience, is a careful Magistrate

Judge who would not have taken Blattner’s plea if she determined that he was not able to plead

voluntarily and knowingly, or was under the influence.

       115.    In the Plea Agreement, which Blattner signed,32 Blattner stated that he was

pleading guilty because he was in fact guilty of the offenses to which he was pleading guilty. 33

See Plea Agreement ¶ 8, at 4.

       116.    In the Plea Agreement, Blattner, states the following:

       I have carefully discussed every part of this agreement with my attorney. I
       understand the terms of this agreement, and I voluntarily agree to those terms.
       My attorney has advised me of my rights of possible defenses, of the sentencing
       factors set forth in 18 U.S.C. § 3553(a), of the relevant Sentencing Guidelines
       provisions, and of the consequences of entering into this agreement.

Plea Agreement ¶ 23, at 9. Blattner also consents to his statements from the Plea Agreement and

those made at the plea hearing being used against him in future proceedings unless the Court,

acting on its own, rejects the plea agreement:

       Except under circumstances where the Court, acting on its own, rejects this plea
       agreement, the Defendant agrees that, upon the Defendant=s [sic] signing of this
       plea agreement, the facts that the Defendant has admitted under this plea
       agreement as set forth above, as well as any facts to which the Defendant admits
       32
         It is not clear from the transcript from the April 10, 2015 plea hearing whether Blattner
signed the Plea Agreement before or during the plea hearing.
       33
         Blattner asks the Court to find that, “[a]t the time he entered his plea, Mr. Blattner
believed that he would have the ability to later withdraw that plea.” Defendant’s Proposed
Findings ¶ 18, at 3. The Court rejects this factual finding, because everything suggests that this
is simply not true. The Plea Agreement itself indicates that withdrawal would be very difficult.
See Plea Agreement ¶ 14, at 6 (stating that except where the Court, acting on its own, rejects the
plea agreement, the facts that the Defendants has admitted under the plea agreement or in open
court at the plea hearing, shall be admissible against him in any subsequent proceeding,
including a criminal trial).


                                                 - 26 -
       in open court at the Defendant=s [sic] plea hearing, shall be admissible against the
       Defendant under Federal Rules of Evidence 801(d)(2)(A) in any subsequent
       proceeding, including a criminal trial, and the Defendant expressly waives the
       Defendant=s [sic] rights under Federal Rule of Criminal Procedure 11(f) and
       Federal Rule of Evidence 410 with regard to the facts the Defendant admits in
       conjunction with this plea agreement.

Plea Agreement ¶ 14, at 6.

       117.   The United States filed a sentencing memorandum regarding Blattner’s

sentencing in which it argued that the Court had to run the thirty-year term of imprisonment in

this federal case consecutive to the state term of imprisonment, although the state court, before

there was a sentence in this case, ran its sentence concurrent with the Court’s sentence. See

Government’s Sentencing Memorandum at 1, filed June 30, 2015 (Doc. 133).

       118.   Blattner subsequently filed a series of motions to continue his sentencing hearing,

which the Court granted. See, e.g., Unopposed Motion to Continue July 10, 2015 Sentencing,

filed June 30, 2015 (Doc. 134); Motion to Continue August 12, 2015 Sentencing, filed July 24,

2015 (Doc. 140).

       119.   As described in this Memorandum Opinion and Order’s Procedural Background

section below, on October 29, 2015, Blattner filed the Motion. See Motion at 1.

       6.     Additional Factual Findings.

       120.   Blattner has not asserted his innocence. See Government’s Proposed Findings of

Fact and Conclusions of Law ¶ 167, at 19, filed December 17, 2015 (Doc. 177)(“United States’

Proposed Findings”).

       121.   The charged offenses in this case occurred more than three years ago on August 6,

2012, August 7, 2012, and August 22, 2012. See United States’ Proposed Findings ¶ 168, at 19.




                                              - 27 -
       122.   The two cooperating witnesses were going to testify in detail and will now need to

remember the details of events that took place more than three years ago. See United States’

Proposed Findings ¶ 169, at 19-20.

       123.   The United States will have to relocate the numerous lay and law enforcement

witnesses -- approximately twenty-four -- who may have moved to other states and law

enforcement that have retired. See United States’ Proposed Findings ¶ 170, at 20.

       124.   Blattner filed the Motion nearly seven months after entering his plea without

providing a reason for the delay. See Motion at 1.

                              PROCEDURAL BACKGROUND

       On February 6, 2013, a federal grand jury indicted Blattner on two counts of Distribution

of a Mixture and Substance Containing Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1)

and (b)(1)(C); one count of Possessing a Firearm During and Relation to and in Furtherance of a

Drug Trafficking Crime in violation of U.S.C. §§ 924(c); and two counts of Felon in Possession

of a Firearm and Ammunition in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).           See

Indictment at 1-3. On August 26, 2014, a second federal grand jury charged Blattner in an eight-

count superseding indictment, which added additional counts for Possessing a Firearm in

Relation to and in Furtherance of a Drug Trafficking Crime in violation of 18 U.S.C. §§ 924(c);

Felon in Possession of a Firearm and Ammunition in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2); and Possession with Intent to Distribute a Mixture and Substance Containing

Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).          See Superseding

Indictment at 1-5. On April 10, 2015, Blattner, at a change of plea hearing before Chief

Magistrate Judge Molzen, entered a guilty plea to counts 2 and 5 of the Superseding Indictment,




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each charging a violation of 18 U.S.C. § 924(c). See Plea Minute Sheet at 1; Plea Agreement at

1.

       1.      The Motion.

       On October 29, 2015, Blattner filed the Motion. See Motion at 1. Blattner moves the

Court for an Order allowing him to withdraw his plea of guilty to Counts 2 and 5 of the

Superseding Indictment. See Motion at 1. Blattner asserts that rule 11(d)(2)(B) of the Federal

Rules of Criminal Procedure permits a defendant to withdraw a guilty plea “after the court

accepts the plea, but before it imposes sentence if the defendant can show a fair and just reason

for requesting the withdrawal.” Motion at 2 (citing Fed. R. Crim. P. 11(d)(2)(B)). Blattner

contends that the Tenth Circuit has identified seven factors that should guide the Court’s decision

whether to permit a defendant to withdraw his guilty plea under this provision: “(1) whether the

defendant has asserted his innocence, (2) prejudice to the government, (3) delay in filing

defendant’s motion, (4) inconvenience to the court, (5) defendant’s assistance of counsel, (6)

whether the plea is knowing and voluntary, and (7) waste of judicial resources.” Motion at 2

(quoting United States v. Sanchez-Leon, 764 F.3d 1248, 1258 (10th Cir. 2014)). Further,

according to Blattner, an additional factor that the Court should consider is the likelihood of

conviction. See Motion at 2. Moreover, Blattner asserts that his April 10, 2015 guilty plea was

invalid, because it was not made knowingly and voluntarily, and asks the Court to permit him to

withdraw it. See Motion at 2.

       Blattner asserts that “[t]he longstanding test for determining the validity of a guilty plea is

whether the plea represents a voluntary and intelligent choice among the alternative courses of

action open to the defendant.” Motion at 2 (quoting United States v. Sanchez-Leon, 764 F.3d at

1259). Further, according to Blattner, “[a] guilty plea ‘cannot be truly voluntary unless the



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defendant possesses an understanding of the law in relation to the facts.’” Motion at 2 (quoting

United States v. Gigot, 147 F.3d 1193, 1198 (10th Cir. 1998)). Here, Blattner asserts that, at the

time of his April 10, 2015 plea hearing, he was under LSD’s influence. See Motion at 2. He

states that he has informed counsel repeatedly that he is often high while incarcerated, including

at the time of his April 10, 2015 plea hearing. See Motion at 2. Moreover, Blattner contends

“that, as a result of his condition at the time of his plea hearing, he was unable to comprehend the

substance of that proceeding, including the plea colloquy conducted by the Court.” Motion at 3.

Blattner therefore asserts that he was unable to make a voluntary and intelligent choice among

the alternatives available to him at that time, that his plea was not truly voluntary, and that he

should be permitted to withdraw his guilty plea. See Motion at 3.

       2.      The United States’ Response.

       The United States responded to the Motion on November 13, 2015. See United States’

Response to Defendant Chris Blattner’s Motion to Withdraw Guilty Plea, filed November 13,

2015 (Doc. 156)(“Response”). The United States contends that Blattner does not have a fair and

just reason for the withdrawal of his guilty plea. See Response at 4. It first asserts that, in

making its determination, the court primarily assesses whether the defendant: (i) knowingly and

voluntarily pled guilty; (ii) had assistance of counsel relating to the decision to plead guilty; and

(iii) has asserted his innocence. See Response at 4 (citing United States v. Lee, 535 F. App’x

677, 680 (10th Cir. 2013)(unpublished)34). On the first factor that the United States identifies, it



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          United States v. Lee is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See
10th Cir. R. 32.1(A), 28 U.S.C. (“Unpublished opinions are not precedential, but may be cited
for their persuasive value.”). The Tenth Circuit has stated: “In this circuit, unpublished orders
are not binding precedent, . . . and . . . citation to unpublished opinions is not favored . . . .
However, if an unpublished opinion . . . has persuasive value with respect to a material issue in a
case and would assist the court in its disposition, we allow a citation to that decision.” United
                                               - 30 -
contends that Blattner’s guilty plea was knowing and voluntary.            See Response at 4-5.

Concerning Blattner’s assertion that he was under LSD’s influence at the time of his guilty plea,

the United States argues the Court must assume that there was no communication regarding drug

usage the day of the plea, because Blattner’s counsel would have been under an ethical

obligation to continue the plea proceeding. See Response at 5. According to the United States,

Blattner’s counsel would have acted ethically under the circumstances. See Response at 5. The

United States further asserts that the record completely belies Blattner’s contention that he was

under LSD’s influence at the plea hearing. See Response at 5. It explains that Blattner affirmed

on several occasions during the plea proceedings that he understood Chief Magistrate Molzen’s

questions and the contents of the plea agreement, and that “his behavior during the plea hearing

reflects a lucid and engaged participant.” Response at 5-6. Last, the United States contends that

Blattner’s counsel never raised the possibility that his client did not understand the proceedings,

which would have been required if something were amiss. See Response at 6.

       The United States argues that the record reflects that, at the outset of the plea hearing,

Blattner acknowledge that he was under oath and that he could be prosecuted for making a false

statement during the proceeding. See Response at 6. According to the United States, Blattner

also acknowledged Chief Magistrate Molzen’s instruction that, if he did not understand

everything, he should stop and ask for time to speak with his counsel or ask the Court to provide

additional explanation. See Response at 6. The United States further asserts that Blattner

“informed the Court that he had no serious physical or mental illnesses which could affect his



States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005). The Court concludes that United States
v. Wright, United States v. Wright, 392 F. App’x 623, 627 (10th Cir. 2010), United States v.
Griffin, 191 F. App’x 699, 701 (10th Cir. 2006), and United States v. Sandoval, 427 F. App’x
621, 623 (10th Cir. 2011), have persuasive value with respect to a material issue, and will assist
the Court in its disposition of this Memorandum Opinion and Order.
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ability to understand the proceedings.” Response at 6. The United States asserts that Blattner

advised that he had “a little anxiety issue,” for which he was not taking any medication, but

affirmed that he was able to function during the hearing with the anxiety. Response at 6. The

United States also maintains that Blattner “stated under oath that he was not under any influence

of any drugs, medicines or alcohol.” Response at 6. According to the United States, he also

stated that he was able to understand everything that was happening, and he denied that there

was anything interfering with his ability to comprehend the proceedings. See Response at 6.

       The United States asserts that, during the length plea colloquy with Chief Magistrate

Judge Molzen, Blattner coherently and rationally affirmed under oath that he was not impaired.

See Response at 6. The United States insists that Blattner specifically stated that he was not

under any substance’s influence, that he understood the proceedings, and that there is no

evidence in the record to suggest otherwise. See Response at 6. The United States argues that

many courts have held that the denial of a motion to withdraw a guilty plea is proper where there

is no evidence to support that a plea was not knowing or voluntary because of an alleged

impairment from drug influence. See Response at 7 (citing e.g., United States v. Freeze, 2006

WL 1897238, at *8 (S.D. Tex. July 7, 2006)(Jack, J.)). The United States further asserts:

       The record does not corroborate the Defendant’s late claim that he was unable to
       comprehend the substance of the plea proceeding because he was impaired by
       drug usage. Motion at 2-3. Defendant was keenly aware of the matters taking
       place during the hearing, so much so that his capacity to challenge the factual
       basis supporting his guilty plea initially halted the plea proceedings for a period of
       time. The Court made several attempts to obtain the Defendant’s admission of
       facts to support the counts to which he was pleading guilty. Id. at 20:20-26:24.
       Defendant, however, always cagey, initially refused to admit to the facts
       underlying his possession of firearms on August 6 and August 17, 2012 or his
       exchanging of methamphetamine for firearms on those dates as charged in the
       superseding indictment, claiming lack of memory. Id. at 20-27. He admitted in
       the process that he reviewed all the evidence of the August 6, 2012 Sportsman’s
       Warehouse transaction with his lawyer, including viewing the store video, yet he
       refused to admit to anything other than shopping in the store. Id. at 25:11-20. In

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       addition, when asked about the police locating firearms at his residence following
       his arrest on August 22, 2012, Defendant refused to admit to possessing the
       firearms, admitting only that they were located “at an individual’s residence . . . .
       That wasn’t my residence . . . .” and that the guns were not in his possession --
       “they weren’t on my person, no . . . I was unconscious . . . I guess they found the
       weapons in the house.” Id. at 26:10-22. Indeed, the reports suggest that he had
       suffered a heroin overdose. He stated that he did not recall that the weapons were
       located in his bedroom, or that he fired two shots at the police. Id. at 26:25-27:3.
       Because the Defendant failed initially to acknowledge the factual basis for the
       guilty plea, Chief Magistrate Judge Molzen initially refused to accept his plea and
       advised that the matter would be set for Judge Browning’s trial calendar the
       following Monday. Id. at 27:7-16.

       It was only after the Court recessed and then resumed the proceedings
       approximately ten minutes later (id. at 28:14-15), that the Defendant admitted to
       the factual basis for the counts of conviction, based on questions posed to him by
       his counsel. Id. at 29:5-16. He admitted to giving methamphetamine to Elizabeth
       Taylor, the individual who purchased firearms for him, on two occasions, and
       admitted that when he gave the methamphetamine to Ms. Taylor he was in
       possession of the firearms identified in the superseding indictment. Id. at 29:18-
       30:2; 31:11-32:1.

       Defendant confirmed that he was entering his guilty plea voluntarily, that no one
       was forcing him to plead guilty, and that he was aware he would receive a 30-year
       sentence if Judge Browning accepted his plea agreement. Id. at 32:2-11. At the
       conclusion of the hearing, the Defendant affirmed that he understood everything
       that was happening, that this is how he wanted to proceed with the hearing, and
       that he had sufficient time with his lawyer. Id. at 33:7-15.

Response at 7-9.

       According to the United States, this lengthy plea colloquy demonstrates that Blattner was

in control of his faculties.   See Response at 9.      It argues that Blattner’s initial refusal to

acknowledge the factual basis for his plea even when video surveillance captured part of his

activities reflects a deliberate attempt to limit the scope of his admissions to gain some future

advantage. See Response at 9. The United States argues that, if Blattner were truly unable to

comprehend the substance of the proceedings, he would not have been so guarded in his

admissions. See Response at 9. The United States maintains that Blattner’s attempt to split hairs

was disingenuous and intended to mislead. See Response at 9. For example, according to the

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United States, Blattner stated: “[The guns] were located at an individual’s residence. That

wasn’t my residence . . . [the guns] weren’t on my person . . . I was unconscious . . . I guess they

found the weapons in the house.” Response at 9.

       Moreover, the United States maintains that the record does not support Blattner’s

assertion that he was “unable to make a voluntary and intelligent choice among the alternatives

available to him” at the plea hearing. Response at 10 (quoting Motion at 3). According to the

United States, Blattner considered terminating the plea proceedings over the factual basis for his

August 6, 2012 possession of firearms, informing his counsel: “You know, let’s just go on and

do the trial thing, man.” Response at 10 (quoting Plea Tr. at 25:21-22 (Blattner)). The United

States asserts that this statement reflects that Blattner was aware that he was not locked into a

requirement to enter his guilty plea during those proceedings, and that he had the right to

terminate the proceedings and proceed to trial at any time. See Response at 10. According to the

United States, at the plea hearing, Blattner in fact chose to proceed to trial, but decided to renew

the plea proceedings following a break in action. See Response at 10.

       The United States further asserts that Blattner’s plea was knowing and voluntary, because

he entered into it with the knowledge of the “direct consequences” of his plea, and he understood

that he was waiving his right to a jury trial, his right to confront and cross-examine witnesses,

and his defenses. Response at 10-11. The United States also argues that Blattner’s plea was

knowing and voluntary in that he had sufficient time to discuss the terms of the plea with his

counsel. See Response at 11. The United States explains that Blattner admitted this fact and

Chief Magistrate Judge Molzen recessed for nearly twenty minutes to give Blattner even more

time to confer with his counsel. See Response at 11. The United States contends that, after the

conference, Blattner advised the Court that he had enough time with his counsel and stated that



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he thought they had “figured it out.” Response at 11. He stated that his counsel had answered

all of his questions, and that he was satisfied with his advice and representation. See Response at

11. According to the United States, Blattner affirmed that nobody was forcing or threatening

him to plead guilty, and that he was voluntarily pleading guilty. The United States further

explains:

       In fact, at one point during the proceedings when the Court asked if anyone was
       pressuring him to plead guilty, Defendant laughed and Mr. Kochersberger
       responded, “other than the government?” to which Defendant replied, “Yeah. I
       love that question.” [Plea Tr.] at 18:1-5. That Defendant was able to engage in
       some levity with his counsel also demonstrates sound presence of mind.
       Following the government’s recitation of facts it could prove if the matter
       proceeded to trial, Defendant entered guilty pleas to counts two and five of the
       superseding indictment. [Plea Tr.] at 20:14-19.

Response at 11-12.

       The United States asserts that at no time during the plea hearing did Blattner demonstrate

that he was under the influence of any drug such that his intellectual or emotional appreciation of

the nature of the proceedings was impaired. See Response at 12. The United States contends

that, if Chief Magistrate Judge Molzen recognized such behavior, she would have promptly

terminated the proceedings. See Response at 12. Instead, the United States insists that Chief

Magistrate Judge Molzen found Blattner “fully competent and capable of entering an informed

plea, that he was aware of the nature of the charges against him and the consequences of his

guilty pleas, and that his pleas were knowing, voluntary and supported by an independent basis

in fact containing all the elements of the offenses.” Response at 12. The United States maintains

that, based on these findings, Chief Magistrate Judge Molzen accepted Blattner’s pleas, adjudged

him guilty of the charged crimes, and deferred acceptance of the plea agreement to Judge

Browning. See Response at 12.




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       The United States next argues that Blattner represented at the plea hearing that he was

satisfied with his counsel’s advice and representation, and that he never expressed any

discontentment with his counsel’s assistance. See Response at 11-12. According to the United

States, Blattner does not assert a lack of assistance of counsel as a basis for withdrawing his

guilty plea and that, in any event, the record does not reveal any evidence that Blattner’s

counsel’s performance was deficient. See Response at 12. The United States contends that Mr.

Kochersberger obtained a favorable plea agreement for Blattner and that Blattner admitted that:

(i) Mr. Kochersberger told him of the Sentencing Guidelines’ advisory range and provided an

estimate of Blattner’s applicable guideline range; (ii) they had sufficiently discussed the Plea

Agreement’s terms, and had “figure[d] it out”; (iii) Mr. Kochersberger answered all of his

questions, and he was satisfied with his advice and representation; (iv) nobody was forcing or

threatening him to plead guilty, and he was pleading guilty voluntarily. See Response at 13.

Finally, the United States contends that, when it appeared that Blattner was about to forfeit the

plea deal, Mr. Kochersberger correctly counseled against proceeding to trial, telling Blattner that

he thought that “was a poor decision.” Response at 14. According to the United States, Blattner

obviously recognized his counsel’s advice, because, when he returned from the recess, he was

prepared to enter a guilty plea. See Response at 14.

       The United States next argues that Blattner has made no assertion of innocence in his

Motion and that he never made such an assertion at the plea hearing. See Response at 14. The

United States contends that Blattner never contested that a jury would find him guilty, despite

initially being circumspect about making admissions of guilt. See Response at 14. According to

the United States, Blattner ultimately admitted to specific facts supporting his guilt of the crimes

with which he was convicted. See Response at 14. The United States insists that the fact that



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Blattner does not assert his innocence in the Motion is telling and cuts against his request to

withdraw his guilty plea. See Response at 14. According to the United States, “this Court has

found no fair and just reason for withdrawal of a guilty plea where the defendant did not assert

his innocence.” Response at 14 (citing United States v. Harmon, 871 F. Supp. 2d 1125 (D.N.M.

2012)(Browning, J.)). In sum, the United States contends that Blattner has not established that

his plea was not knowing and voluntary, that he had ineffective assistance of counsel, and that he

is innocent of the charges. See Response at 14. The United States therefore asserts that Blattner

has not met his burden to prove a fair and just reason for withdrawing his guilty plea, and that the

Court should deny the Motion. See Response at 15.

       The United States next argues that, although the Court need not address the remaining

United States v. Yazzie, 407 F.3d 1139 (10th Cir. 2005) factors, they nonetheless also weigh

against granting the Motion. See Response at 15. First, the United States argues that Blattner’s

actions have already prejudiced the United States. See Response at 15. The United States

contends that it has expended considerable time and energy in this prosecution opposing

substantive motions, and that it has spent countless hours preparing witnesses, exhibits, and trial

pleadings in preparation for the April 13, 2015 trial setting, which was vacated on the eve of trial

with Blattner’s April 10, 2015 guilty plea. See Response at 15. The United States further asserts

that the charged offenses took place more than three years ago, and that “[m]emories fade and

the prosecution’s case can only weaken with the passage of time.” Response at 15. The United

States maintains that it will now need to secure many lay and law enforcement witnesses again

for another trial setting. See Response at 15. According to the United States, “[b]ecause the

Defendant pleaded guilty seven months ago, the United States has not had any reason to maintain

contact with the bevy of witnesses on whom it would rely to prove its case.” Response at 15-16.



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The United States therefore maintains that this factor weighs against permitting Blattner to

withdraw his guilty plea. See Response at 16.

       Second, the United States asserts that Blattner’s delay in filing the Motion is significant.

See Response at 16. The United States contends that Chief Magistrate Judge Molzen held

Blattner’s change of plea hearing on April 10, 2015, he filed his Motion on October 29, 2015,

and he provides no reason for his nearly seven-month delay in filing his Motion. See Response

at 16. The United States therefore maintains that this factor weighs heavily against withdrawal

of the plea. See Response at 17. Third, the United States asserts that permitting Blattner to

withdraw his plea would inconvenience the Court and waste judicial resources. See Response at

17. Last, the United States asserts that, “[a]lthough it is not one of the Yazzie factors that the

Court must address when a defendant moves to withdraw a guilty plea before sentencing, the

Court may also consider the likelihood of conviction when assessing whether to permit

withdrawal of a guilty plea.” Response at 18 (citing United States v. Carr, 80 F.3d 413, 421 n.5

(10th Cir. 1996)). The United States maintains that the likelihood of conviction in this case is

great, explaining:

       At the plea hearing, the government recited the facts underlying counts 2 and 5 of
       the superseding indictment that it could prove against Defendant if the matter
       proceeded to trial. PHT at 19:12-20:13. Following the recitation of those facts,
       Defendant entered guilty pleas to those counts. Id. at 20:14-19. Citing that the
       United States’ evidence was extremely strong against the Defendant, Assistant
       United States Attorney Louis Valencia advised Chief Magistrate Judge Molzen
       that the government could prove its charges through the testimony of Elizabeth
       Taylor, the individual who purchased the firearms for Defendant in exchange for
       methamphetamine, and through video footage depicting Defendant inside the
       Sportsman’s Warehouse store on August 6, 2015. Id. 24:15-25:10. In addition,
       Brittany Blattner, the Defendant’s former spouse, would also testify that
       Defendant gave Elizabeth Taylor methamphetamine in exchange for the firearms.
       Id. 25:5-7. Defendant himself acknowledged the strength of the government’s
       case when he stated: “[T]hey have this evidence and can convict me if I don’t take
       the plea.” Id. at 22:11-12. Moreover, Defendant admitted to Chief Magistrate
       Judge Molzen when she asked if he had the firearms identified in the superseding

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       indictment on his person at the time of the transfer of methamphetamine to
       Elizabeth Taylor, that “Yes, I’m sure I did.” Id. at 31:11-32:1.

Response at 18-19.

       3.     Blattner’s Reply.

       Blattner did not file a reply to the United States’ Response to his Motion.

       4.     The Hearings on the Motion.

       The Court held hearings on the Motion on November 23, 2015, December 2, 2015, and

December 9, 2015. At the November 23, 2015, hearing, Blattner and Dr. Tella testified. See

Nov. 23 Tr. at 6:9-87:18 (Blattner, Court, Goldberg, Kochersberger, Tella, Torrez). At the

December 2, 2015, hearing, Blattner, Dr. Goldberg, and Santa Fe County Adult Detention Center

officials Sergeant Rita Archuleta, Ortega, and Valdo testified. See Dec. 2 Tr. at 4:10-114:15

(Archuleta, Blattner, Court, Goldberg, Kochersberger, Ortega, Segotta, Tella, Torrez, Valdo).

Finally, at the December 9, 2015, hearing, Heard testified, see Dec. 9 Tr. at 6:13-35:23 (Court,

Heard, Kochersberger, Torrez), and the parties then took up argument on the Motion, see Dec. 9

Tr. at 36:2-63:19 (Court, Kochersberger, Torrez).

       Blattner first argued in support of the Motion. See Dec. 9 Tr. at 36:2-43:13 (Court,

Kochersberger). Blattner first argued that “it is probably uncontroversial that if he was under

LSD’s influence at the time of his plea, that would have affected his ability to both understand

the proceedings, comprehend the consequences, and intelligently make a decision on whether or

not to do the plea.” Dec. 9 Tr. at 36:10-16 (Kochersberger). Blattner argued that the central

issue then is whether he was truly under LSD’s influence at the time he entered the plea. See

Dec. 9 Tr. at 36:24-37:2 (Kochersberger). According to Blattner, the evidence in support of

LSD’s influence are primarily his own testimony bolstered by the fact that he told his lawyer on

that day that he was under LSD’s influence. See Dec. 9 Tr. at 37:3-6 (Kochersberger). Blattner

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also argued that the “seemingly unusual choice of drugs” bolsters his credibility, given the

testimony that LSD is an unusual substance in the correctional setting. Dec. 9 Tr. at 37:21-25

(Kochersberger). According to Blattner, if he were to make up a story, it would be more likely

that he would pick a drug that is more pervasive, such as heroin or Suboxone. See Dec. 9 Tr. at

37:25-38:12 (Kochersberger). Blattner further asserted that the fact that it was a prolonged, odd

plea hearing, in which Blattner seemed preoccupied with just getting away from the podium and

not having to deal with the proceedings, supports his argument. See Dec. 9 Tr. at 38:13-17

(Kochersberger). Blattner argued that that is consistent “with Dr. Goldberg’s understanding of

the manifestation of someone being under the hallucinations of LSD, wanting to avoid dealing

with reality.” Dec. 9 Tr. at 38:17-21 (Kochersberger). Moreover, Blattner contended that his

plea hearing behavior is consistent with someone wanting to get away from the hearing itself.

See Dec. 9 Tr. at 38:21-24 (Kochersberger).

       Blattner contended that nothing which he exhibited at the plea is inconsistent with him

being on LSD, and that the testimony from Santa Fe County Adult Detention Center officials

suggests that someone could get drugs and use them before a plea hearing. See Dec. 9 Tr. at

39:2-9 (Kochersberger). He further asserted that Dr. Goldberg “found instances that he thought

evidenced, to some extent, Mr. Blattner’s use of LSD; the somewhat odd laughing during the

proceeding, which could be explained admittedly by Dr. Goldberg and by myself here, maybe by

Mr. Blattner’s sense of humor. . . . But Dr. Goldberg found it to be remarkable.” Dec. 9 Tr. at

40:1-7 (Kochersberger). Finally, Blattner asserted that his prospects for a better deal are very

bleak. See Dec. 9 Tr. at 42:6-7 (Kochersberger). According to Blattner, “if he withdraws his

plea, his consequences are far worse, in the event of a likely trial conviction.” Dec. 9 Tr. at 42:7-

9 (Kochersberger). Blattner contended that reality leads to the conclusion that he is “telling the



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truth, that he didn’t know what he was doing, and he needs an opportunity to make a knowing

and intelligent decision if, in fact, he’s going to ever enter into a plea.” Dec. 9 Tr. at 42:11-14

(Kochersberger). The Court then asked Blattner who has the burden of proof of establishing that

Blattner was on or not on LSD on that day. See Dec. 9 Tr. at 42:17-19 (Court). Blattner

responded that he believed Blattner has the burden of proof of showing that he was on LSD and

maintained that all of the evidence indicates that Blattner has met his burden. See Dec. 9 Tr. at

42:20-43:8 (Kochersberger).

       The United States then took up argument on the Motion. See Dec. 9 Tr. at 43:12-17

(Court, Torrez). The United States first asserted that, for the Court to grant the Motion, it must

find Blattner credible. See Dec. 9 Tr. at 43:14-16 (Torrez). According to the United States,

“that’s where their case fails.”   Dec. 9 Tr. at 43:16-17 (Torrez).      First, the United States

contended that, although Blattner asserts that he got the LSD in his cell, he has refused to name

his source. See Dec. 9 Tr. at 43:18-20 (Torrez). Second, the United States argued that the

seven-month delay weighs against the Court granting the Motion. See Dec. 9 Tr. at 43:21-25

(Torrez). Moreover, the United States maintained that Blattner has been proven to be a liar and

that he will manipulate a situation, no matter what the circumstances are. See Dec. 9 Tr. at 44:2-

5 (Torrez). The United States argued that, at his plea hearing, Blattner had one-hundred and one

responses that were coherent and responsive. See Dec. 9 Tr. at 44:11-13 (Torrez). The United

States further asserted that, if Blattner’s counsel was concerned that Blattner could not take a

plea based on Blattner telling him on the day of the plea hearing that he was under LSD’s

influence, he would have brought it to the attention of the Court, but that did not happen. See

Dec. 9 Tr. at 43:14-21 (Torrez).




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       The United States next argued that Blattner’s laughter during the plea hearing can be

attributed to his high sensitivity to humor. See Dec. 9 Tr. at 45:2-21 (Torrez). The United States

countered Blattner’s assertion that he was trying to get through the proceeding by noting that

Chief Magistrate Judge Molzen asked whether he needed some more time and that Blattner

responded that he needed a few minutes to speak with his counsel. See Dec. 9 Tr. at 45:22-46:3

(Torrez). According to the United States, Blattner then took a twenty-minute break. See Dec. 9

Tr. at 46:4-8 (Torrez). In sum, the United States asked the Court to make a finding that, in terms

of Blattner’s credibility, he has none

       based upon what we’ve seen here in court, what we know about his criminal
       history, and what we know about him telling his counselor that he had been sober
       with respect to methamphetamine for almost three years. And we know that
       during the course of his selling methamphetamine or trading methamphetamine
       for guns in this straw purchase that he, in fact, was using methamphetamine.

               So he lies to her, he lies to the Court, and he wants to come in today and
       say, I was under the influence, and I should be allowed to get out of my plea.
       And I think that that cannot be the case. He has, in fact, in the colloquy
       demonstrated that it was voluntary, and he is now trying to manipulate the
       situation and find a way out of this plea.

Dec. 9 Tr. at 50:25-51:15 (Torrez).

       5.      Blattner’s Proposed Findings of Fact and Conclusions of Law.

       On December 16, 2015, Blattner filed his proposed findings of fact and conclusions of

law. See Defendant’s Proposed Findings at 1. The Court addressed Blattner’s proposed factual

findings in this Memorandum Opinion and Order’s Findings of Fact section. In his proposed

conclusions of law, Blattner contends:

       7. There is sufficient evidence to establish that inmates, including Mr. Blattner,
       have the ability to acquire illegal drugs while in the custody of SFCADF.

       8. There is sufficient evidence to establish that Mr. Blattner has, in fact, obtained
       illegal contraband while in the custody of SFCADF.



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       9. The evidence establishes that Mr. Blattner’s description of the symptoms he
       was experiencing during his April 10, 2015 plea hearing are consistent with
       symptoms of LSD use.

       10. There is sufficient evidence to show that any symptoms of LSD use, whether
       physiological, somatic, or psychological, or otherwise, would not necessarily be
       apparent to persons coming into contact with the user.

       11. There is sufficient evidence to establish that Mr. Blattner was under the
       influence of LSD at the time he entered his guilty plea on April 10, 2015.

       12. There is sufficient evidence to establish that LSD intoxication impairs one’s
       ability to make informed decisions.

       13. The evidence establishes that LSD produces anxiety, altered thinking, altered
       time perception, convoluted sensory experiences, and loss of sense of self, and
       tendency to say anything needed to get out of the present situation.

       14. The evidence establishes that those under the influence of LSD are not
       focused on what is going on around them and tend to say whatever they need to
       get out of the situation in which they are involved.

       15. Mr. Blattner presented sufficient evidence to establish that, as a result of
       being under the influence of LSD at his April 10, 2015 plea hearing, he was
       unable to make a voluntary and intelligent choice with regard to his alternatives
       during the plea colloquy.

       16. Mr. Blattner presented sufficient evidence to establish that he was unable to
       fully understand the consequences of his entry of a guilty plea on April 10, 2015
       as a result of being under the influence of LSD at that time.

       17. Through the evidence presented at the hearing on his motion to withdraw
       plea, Mr. Blattner met his burden of showing that he has a fair and just reason for
       requesting the withdrawal of his plea.

Defendant’s Proposed Findings at 8-9.

       6.     The United States’ Proposed Findings of Fact and Conclusions of Law.

       The United States filed its proposed findings of fact and conclusions of law on December

17, 2015. See United States’ Proposed Findings at 1. The Court addressed the United States’

proposed factual findings in this Memorandum Opinion and Order’s Findings of Fact section. In

its proposed conclusions of law, the United States contends:

                                              - 43 -
       192. The defendant failed to submit sufficient credible evidence to establish by a
       preponderance of the evidence that there is a fair and just reason for a withdrawal
       of his plea.

       193. The record demonstrates that the defendant’s guilty plea before Chief
       United States Magistrate Judge Karen B. Molson was both knowing and
       voluntary.

       194. District courts have broad discretion in determining whether to grant
       motions to withdraw guilty pleas. United States v. Graves, 106 F.3d 342, 343
       (10th Cir. 1997).

       195. There is sufficient evidence to establish that LSD is an uncommon drug in
       the Santa Fe County Adult Detention Center.

       196. There is sufficient evidence in the record to establish that LSD has not been
       found in the Santa Fe County Adult Detention Center in the last 13 years.

       197. There is sufficient evidence in the record based on the defendant’s responses
       in the colloquy to demonstrate that his plea was both knowing and voluntary.

       198. A defendant’s sworn statements at a Rule 11 hearing carry a strong
       presumption of verity such that a court may summarily dismiss as incredible the
       defendant’s later offer of conclusionary allegations unsupported by specifics. See
       Blackledge v. Allison, 431 US, 74 (1977).

       199. The defendant’s belated claim of an unknowing and involuntary plea is
       foreclosed by his knowing admissions and his responsiveness during the plea
       colloquy.

       200. The courts have held that the denial of a motion to withdraw a guilty plea is
       entirely proper where there is no evidence to support that a plea was not knowing
       or voluntary due to an alleged impairment while under the influence of a drug.
       See United States v. Friese, 2006 WL 1897238, at *8 (S.D. Texas July 7, 2006)
       (unpublished).

       201. The Tenth Circuit has stated that “the primary considerations for
       determining whether a fair and just reason exists are whether the defendant (1)
       knowingly and voluntarily pled guilty, (2) had the assistance of counsel relating to
       the decision to plead guilty, and (3) has asserted his innocence.” United States v.
       Lee, 535 F. App’x 677, 680 (10th Cir. 2013)(unpublished).

United States’ Proposed Findings at 23-24.




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                LAW REGARDING WITHDRAWAL OF GUILTY PLEAS

       Rule 11(d)(2)(B) of the Federal Rules of Criminal Procedure governs a motion to

withdraw a guilty plea before the imposition of a sentence. Rule 11(d)(2)(B) provides that a

defendant may withdraw a plea if “the defendant can show a fair and just reason for requesting

the withdrawal.” Fed. R. Crim. P. 11(d)(2)(B). Defendants do not have an absolute right to

withdraw a guilty plea. See United States v. Siedlik, 231 F.3d 744, 748 (10th Cir. 2000).

District courts have, however, broad discretion in determining whether to grant motions to

withdraw pleas.      See United States v. Wright, 392 F. App’x 623, 627 (10th Cir.

2010)(unpublished)(“We review the district court’s denial of a motion to withdraw a guilty plea

for an abuse of discretion.”); United States v. Garcia, 577 F.3d 1271, 1274 (10th Cir.

2009)(“Although a motion to withdraw a plea prior to sentencing should be freely allowed, we

will not reverse unless the defendant can show that the court acted unjustly or unfairly.”). The

Tenth Circuit has repeatedly held that, when a defendant moves to withdraw a guilty plea before

sentencing, the court must assess whether there is a fair and just reason for withdrawal based on

the following factors:

       (1) whether the defendant has asserted his innocence; (2) whether withdrawal
       would prejudice the government; (3) whether the defendant delayed in filing his
       motion, and, if so, the reason for the delay; (4) whether withdrawal would
       substantially inconvenience the court; (5) whether close assistance of counsel was
       available to the defendant; (6) whether the plea was knowing and voluntary; and
       (7) whether the withdrawal would waste judicial resources.

United States v. Yazzie, 407 F.3d at 1142. While treated sometimes as an eighth factor, a district

court may properly consider “the likelihood of conviction” when assessing whether to permit

withdrawal of a guilty plea. United States v. Carr, 80 F.3d at 421 n.5 (recognizing that the Tenth

Circuit has “suggested an additional factor to consider: the likelihood of conviction” (citing

United States v. Glover, 911 F.2d 419, 421 (10th Cir. 1990)). Accord United States v. Begaye,

                                              - 45 -
2012 WL 119602, at *10 (D.N.M. Jan. 3, 2012)(Browning, J.)(“The Court believes the

consideration of likelihood of conviction is relevant here, either in the context of the two factors

of whether withdrawal would substantially inconvenience the Court or waste judicial resources,

or as an additional factor.”).

        The defendant bears the burden of demonstrating a “fair and just reason” for withdrawal

of the plea. United States v. Griffin, 191 F. App’x 699, 701 (10th Cir. 2006)(unpublished). In

assessing a motion to withdraw a guilty plea, courts should give particular weight to knowing

and voluntary statements that the defendant made under oath at the plea hearing. See United

States v. Messino, 55 F.3d 1241, 1248 (7th Cir. 1995). In reaching their decisions, courts should

also remember that “[t]he plea of guilty is a solemn act not to be disregarded because of belated

misgivings about [its] wisdom.” United States v. Morrison, 967 F.2d 264, 268 (8th Cir. 1992).

While the right to withdraw a guilty plea before sentencing, therefore, is not absolute, the court

should allow relief when the defendant can show a fair and just reason for withdrawal. See

United States v. Jim, No. CR 10-2653, 2011 WL 6013093, at *6-7 (D.N.M. Nov. 22,

2011)(Browning, J.).

        In United States v. Harmon, 871 F. Supp. 2d 1125 (D.N.M. 2012)(Browning, J.), the

Court determined that a defendant had not shown a fair and just reason for withdrawing his

guilty plea. See 871 F. Supp. 2d at 1176. The defendant did not assert his innocence, but, rather,

asserted that the evidence against him should have been suppressed. See 871 F. Supp. 2d at

1138-39. The defendant requested that the Court reconsider its previous decision to admit the

evidence against him. See 871 F. Supp. 2d at 1138-39. The Court denied the request for

reconsideration, and determined, therefore, that the defendant had not presented a fair and just

reason for withdrawing his guilty plea, as the United States possessed the same evidence to



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convict him as it did when the defendant pleaded guilty. See 871 F. Supp. 2d at 1171-75. In

United States v. Begaye, the Court applied the seven factors in United States v. Yazzie, and

determined that the defendant failed to present a fair and just reason for withdrawing his guilty

plea. See United States v. Begaye, 2012 WL 119602, at *8-12. The defendant asserted that he

might have a self-defense argument, but the Court found that he had not made a credible

assertion of innocence, and determined that a slim possibility of acquittal was not a fair and just

reason for allowing the defendant to withdraw his plea. See 2012 WL 119602, at *8-12. In

United States v. Jim, the Court permitted a defendant to withdraw his plea of guilty, because the

defendant expressed that he did not understand that he waived his right to proceed to trial by

entering into a plea agreement, and Judge Puglisi did not use the word “trial” during the plea

colloquy. 2011 WL 6013093, at *13. The Court allowed Jim to withdraw his plea, even though

the plea agreement included a waiver of Jim’s right “to have a trial by jury.” Plea Agreement ¶¶

2(c), 3, at 1-2, filed in Case No. CR 10-2653 JB on February 28, 2011 (Doc. 25).

LAW REGARDING THE KNOWING-AND-VOLUNTARY STANDARD FOR GUILTY
                           PLEAS

       A defendant’s guilty plea must be knowing and voluntary. See United States v. Libretti,

38 F.3d 523, 529 (10th Cir. 1994). To enter a plea that is knowing and voluntary, a defendant

must have “a full understanding of what the plea connotes and of its consequence.” Boykin v.

Alabama, 395 U.S. 238, 244 (1969).            A defendant must only understand the “direct

consequences” of his plea, United States v. Hurlich, 293 F.3d 1223, 1230 (10th Cir. 2002), and

whether the plea carries a risk of deportation, see Padilla v. Kentucky, 559 U.S. 356, 374 (2010).

If a guilty plea is not knowing and voluntary, it is void, and any additional waivers in the plea

agreement generally are unenforceable. See United States v. Mitchell, 633 F.3d at 1001 (citing

United States v. Gigley, 213 F.3d 509, 516 (10th Cir. 2000)). The Tenth Circuit has analyzed the

                                              - 47 -
knowing and voluntary nature of a waiver of rights in the context of a waiver of appellate rights,

explaining that “[a] waiver of appellate rights will be enforced if: (1) the disputed appeal falls

within the scope of the waiver of appellate rights; (2) the defendant knowingly and voluntarily

waived his appellate rights; and (3) enforcing the waiver would not results in a miscarriage of

justice.”    United States v. Vidal, 561 F.3d 1113, 1118 (10th Cir. 2009)(alteration

omitted)(internal quotation marks omitted). See United States v. Sandoval, 427 F. App’x 621,

623 (10th Cir. 2011)(unpublished); United States v. Wilken, 498 F.3d 1160, 1167 (10th Cir.

2007).

         The defendant in United States v. Mitchell argued that the district court’s statements that

his counsel may have exerted “undue influence” over him rendered his plea involuntary. 633

F.3d at 1001. The Tenth Circuit held that the fact that his counsel used “colorful language” --

telling the defendant “‘you would be a fool not to take this plea offer!’” -- did not approach a

constitutionally suspect level of coercion. 633 F.3d at 1002. The Tenth Circuit stated that, even

when pressure from counsel may be “palpable,” and a defendant alleged he was “hounded,

browbeaten, and yelled at,” such pressures do not “vitiate the voluntariness of his plea.” 633

F.3d at 1002 (citing United States v. Carr, 80 F.3d at 417 (analyzing voluntariness where counsel

called the defendant “stupid” and “a f***ing idiot”)). The defendant in United States v. Mitchell

also pointed to the breakdown in communication between himself and his attorney to establish

that his plea was not knowing and involuntary. See 633 F.3d at 1001. The Tenth Circuit found

this argument similarly unavailing, and held that the guilty plea and accompanying plea

agreement were knowing and voluntary. See 633 F.3d at 1002.

         In the United States District Court for the District of New Mexico, if a defendant

consents to plead guilty before a United States Magistrate Judge, then the Magistrate Judge will



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conduct the plea colloquy and accept the plea. See United States v. Ciapponi, 77 F.3d 1247,

1349-50 (10th Cir. 1996)). “With a defendant’s express consent, the broad residuary ‘additional

duties’ clause of the Magistrate Act authorizes a magistrate judge to conduct a Rule 11 felony

plea proceeding, and such does not violate the defendant’s constitutional rights.” United States

v. Ciapponi, 77 F.3d at 1251. In other words, the Magistrate Judge routinely accepts the guilty

plea, because he or she is the one who can visually and audibly determine whether the plea is

voluntary, but the Magistrate Judge does not accept the plea agreement, if any. See United

States v. Salas-Garcia, 698 F.3d 1242, 1253 (10th Cir. 2012)(stating that “Magistrate judges have

the authority to conduct plea hearings and accept guilty pleas,” and that, “even if the magistrate

judge had deferred acceptance of the plea agreement itself, the magistrate judge accepted [the

defendant’s] plea for the purposes of Rule 11”). Under the local rules, the “Court will defer a

decision on the acceptance or rejection of the plea agreement until the Court has reviewed the

presentence report, even in instances where the Court has accepted the guilty plea.” D.N.M.LR-

Cr. 11.2. A District Judge will sentence the defendant, and, at that time, will accept or reject any

plea agreement.

LAW REGARDING WAIVERS OF A DEFENDANT’S RIGHTS UNDER RULE 410 OF
               THE FEDERAL RULES OF EVIDENCE

       The general rule is that evidence of a guilty plea or statements made in plea negotiations

are inadmissible evidence. See Fed. R. Evid. 410. Accord United States v. Mitchell, 633 F.3d at

1002 (“As a general matter, evidence of a guilty plea or statements made in plea negotiations are

inadmissible.”). Rule 410 provides:

       Pleas, Plea Discussions, and Related Statements

       (a) Prohibited Uses. In a civil or criminal case, evidence of the following is not
       admissible against the defendant who made the plea or participated in the plea
       discussions:

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              (1) a guilty plea that was later withdrawn;

              (2) a nolo contendere plea;

              (3) a statement made during a proceeding on either of those pleas under
              Federal Rule of Criminal Procedure 11 or a comparable state procedure; or

              (4) a statement made during plea discussions with an attorney for the
              prosecuting authority if the discussions did not result in a guilty plea or
              they resulted in a later-withdrawn guilty plea.

Fed. R. Evid. 410.

       The Supreme Court of the United States, in United States v. Mezzanatto, 513 U.S. 196

(1995)(Thomas, J.), addressed a challenge to a waiver that allowed the United States to use the

defendant’s statements during plea negotiations to impeach any contradictory testimony that

could arise if the case proceeded to trial. See 513 U.S. at 198. The Supreme Court held that,

“absent some affirmative indication that the agreement was entered into unknowingly or

involuntarily, an agreement to waive the exclusionary provisions of the plea-statement Rules is

valid and enforceable.” 513 U.S. at 210. The Supreme Court stated that, while there “may be

some evidentiary provisions that are so fundamental to the reliability of the factfinding process

that they may never be waived without irreparably discrediting the federal courts,” “enforcement

of agreements like respondent’s plainly will not have that effect.” 513 U.S. at 204 (internal

brackets omitted)(internal quotation marks omitted). Instead, the Supreme Court noted that

admitting the plea statements for impeachment purposes enhanced the truth-seeking function of

trials and would result in more accurate verdicts. See 513 U.S. at 204 (“The admission of plea

statements for impeachment purposes enhances the truth-seeking function of trials and will result

in more accurate verdicts.” (emphasis in original)). In so holding, the Supreme Court rejected

the following arguments that rule 410 should be unwaivable: (i) that rule 410 must be enforced to



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guarantee a fair procedure; (ii) that waivability would undermine the goal of voluntary

settlement; and (iii) that waivability would invite prosecutorial reaching and abuse. See 513 U.S.

at 204-10. A three-justice concurrence advocated that courts should narrowly construe the

holding’s scope and emphasized that the case dealt only with an impeachment waiver. See 513

U.S. at 211 (Ginsburg, J., concurring).

       In United States v. Mitchell, however, the Tenth Circuit extended the Supreme Court’s

reasoning in United States v. Mezzanatto to case-in-chief waivers. There the Tenth Circuit

upheld the following provision, in which the defendant agreed:

       [I]f I withdraw my plea of guilty, I shall assert no claim under the United States
       Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of
       the Federal Rules of Criminal Procedure, or any other federal rule, that the
       defendant’s statements pursuant to this agreement, or any leads derived therefrom,
       should be suppressed or are inadmissible at any trial, hearing, or other proceeding.

United States v. Mitchell, 633 F.3d at 999. The Tenth Circuit commented: “We see no analytical

distinction between Rule 410’s application to impeachment waivers and case-in-chief waivers.

The same reasoning for the former compels the latter.” 633 F.3d at 1004. It further explained its

decision and stated: “Even if the district court determines a guilty plea should be withdrawn, a

waiver of Rule 410 only means a trial will contain more evidence -- both the evidence of the

original guilty plea and evidence the plea was withdrawn.” United States v. Mitchell, 633 F.3d

at 1005 (emphasis added). The Tenth Circuit noted that its conclusion was in line with the other

circuits who have considered expanding the rationale of United States v. Mezzanatto. See 633

F.3d at 1006 (citing United States v. Sylvester, 583 F.3d 285, 289 (5th Cir. 2009); United States

v. Young, 223 F.3d 905, 910-11 (8th Cir. 2000); United States v. Burch, 156 F.3d 1315, 1321

(D.C. Cir. 1998)). The Tenth Circuit also stated that the facts of United States v. Mezzanatto

supported its decision, because the defendant in that case received only an opportunity to discuss



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cooperation with the United States, while the United States made promises to Mitchell in the plea

agreement. See United States v. Mitchell, 633 F.3d at 1006. Before reaching the rule 410

question, the Tenth Circuit determined that the defendant’s guilty plea was knowing and

voluntary. See 633 F.3d at 1001. Although the district court noted that the defendant’s counsel

may have exerted undue influence, the Tenth Circuit concluded that his counsel’s influence did

not render the plea involuntary. See 633 F.3d at 1002.

       The Tenth Circuit’s analysis in United States v. Mitchell began with its determination

that the plea agreement was enforceable. See 633 F.3d at 1002. Although the Tenth Circuit

stated at the outset that it was considering whether the rule 410 waiver was knowing and

voluntary, it analyzed the plea as a whole. See United States v. Mitchell, 633 F.3d at 1002

(“Based on a careful review of the record, we agree with the district court that Mitchell’s plea

was knowing and voluntary.”). The United States Court of Appeals for the District of Columbia

Circuit similarly analyzed the validity of the rule 410 waiver in the context of the validity of the

plea as whole. See United States v. Burch, 156 F.3d at 1322. The D.C. Circuit commented:

       Appellant’s specific contention that he involuntarily waived the protections of
       Rules 11(e)(6) and 410 derives from his broader claim that he did not enter into
       the plea agreement voluntarily. He makes no attempt to deconstruct the plea
       agreement into individual components, nor to claim that he acceded to a particular
       provision involuntarily, independent of his intention with his respect to the entire
       plea. Therefore, we can only review whether his waiver was knowing and
       voluntary through examining, as the trial court did, the nature of the plea
       agreement that subsumes it.

156 F.3d at 1322 n.5.

       In United States v. Jim, 839 F. Supp. 2d 1157 (D.N.M. 2012)(Browning, J.), the Court,

after allowing the defendant to withdraw his guilty plea, denied the defendant’s motion to

exclude statements he made in the plea agreement and during the plea colloquy, because the




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defendant waived his rights under rule 410 when he entered the plea agreement. 839 F. Supp. 2d

at 1158. The plea agreement stated:

       Except under certain circumstances where the Court, acting on its own, fails to
       accept this plea agreement, the Defendant agrees that, upon the Defendant’s
       signing of this plea agreement, the facts that the Defendant has admitted under
       this plea agreement as set forth above, as well as any facts to which the Defendant
       admits in open court at the Defendant’s plea hearing, shall be admissible against
       the Defendant under Federal Rule of Evidence 801(d)(2)(A) in any subsequent
       proceeding, including a criminal trial, and the Defendant expressly waives the
       Defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal
       Rule of Evidence 410 with regard to the facts the Defendant admits in conjunction
       with this plea agreement.

839 F. Supp. 2d at 1172. The defendant argued that the waiver of his rights under rule 410 was

unconstitutional, but the Court disagreed, noting the similarity of the defendant’s waiver with the

waiver that the Tenth Circuit upheld in United States v. Mitchell. See 839 F. Supp. 2d at 1172.

The defendant then argued that, because his attorney at the time he pled guilty was missing half

of the photographs taken at the scene, he did not have all the evidence and pled guilty

involuntarily; although he raised the issue in terms of voluntariness, the Court explained that

voluntariness “ordinarily deals with claims that the plea was coerced,” which the defendant did

not allege. 839 F. Supp. 2d at 1178. The Court instead analyzed the defendant’s argument in

terms of whether he knowingly pled guilty; the Court noted that the defendant did not argue that

the lack of evidence affected his understanding of “‘what the plea connotes and of its

consequence,’ the understanding necessary to enter a knowing plea.” 839 F. Supp. 2d at 1179

(quoting Boykin v. Alabama, 395 U.S. at 244). The Court reviewed its reasons for previously

allowing the defendant to withdraw his guilty plea, including a defect in the plea colloquy in

which the magistrate judge “never mentioned the word ‘trial,’” and the defendant said he did not

know he was waiving his right to proceed to trial; this defect cast doubts on whether the

defendant knowingly and voluntarily pled guilty and led the Court to find a “fair and just reason”

                                              - 53 -
to permit the defendant to withdraw his guilty plea. 839 F. Supp. 2d at 1180. The Court

concluded, however, that “the evidence in favor of a knowing and voluntary plea outweighs

considerably the evidence of an unknowing plea, and is more weighty and more credible. In

other words, [the defendant] has not met his burden of presenting an ‘affirmative indication’ that

the plea was not knowing and voluntary.” 839 F. Supp. 2d at 1181. Further, the defendant did

not raise these arguments in his motion to exclude statements from the plea agreement and plea

colloquy: “In the absence of argument on this issue and with the burden resting on [the

defendant], the Court will not invalidate the rule 410 waiver and exclude [the defendant’s]

statements on this ground.” 839 F. Supp. 2d at 1185. As to the waiver’s scope, the Court

determined that, because the waiver to which the defendant stipulated permitted the United

States to “use his statements in a subsequent ‘criminal trial,’” the United States could use the

defendant’s statements in any phase of the trial. 839 F. Supp. 2d at 1186 (quoting the plea

agreement).

                                  CONCLUSIONS OF LAW

       1.      The Court will deny the Motion. Blattner has not given the Court a fair and just

reason for withdrawing his guilty plea.      Rule 11(d)(2)(B) provides that a defendant may

withdraw a plea if “the defendant can show a fair and just reason for requesting the withdrawal.”

Fed. R. Crim. P. 11(d)(2)(B). Defendants do not have an absolute right to withdraw a guilty

plea. See United States v. Siedlik, 231 F.3d at 748. District courts have broad discretion,

however, in determining whether to grant motions to withdraw pleas. See United States v.

Wright, 392 F. App’x. at 627. The Tenth Circuit has repeatedly held that, when a defendant

moves to withdraw a guilty plea before sentencing, a court must assess whether there is a fair and

just reason for withdrawal based on the following factors:



                                              - 54 -
       (1) whether the defendant has asserted his innocence; (2) whether withdrawal
       would prejudice the government; (3) whether the defendant delayed in filing his
       motion, and, if so, the reason for the delay; (4) whether withdrawal would
       substantially inconvenience the court; (5) whether close assistance of counsel was
       available to the defendant; (6) whether the plea was knowing and voluntary; and
       (7) whether the withdrawal would waste judicial resources.

United States v. Yazzie, 407 F.3d at 1142. While treated sometimes as an eighth factor, a district

court may properly consider “the likelihood of conviction” when assessing whether to permit

withdrawal of a guilty plea. United States v. Carr, 80 F.3d at 421 n.5. The Court will consider

each of these eight factors in turn.

       2.      Blattner not clearly asserted that he is innocent of the charged offense. To satisfy

the first factor based on assertion of legal innocence, the Tenth Circuit has held that a defendant

must present a “credible claim of legal innocence,” United States v. Hamilton, 510 F.3d 1209,

1214 (10th Cir. 2007), and that a “defendant’s subjective belief in his own innocence does not

mandate allowing him to withdraw his plea of guilty,” United States v. Hickok, 907 F.2d 983,

985 n.2 (10th Cir. 1990). In his Motion, Blattner does not assert his innocence or even contest

factual elements of the offense. See Government’s Proposed Findings ¶ 167, at 19. Rather,

Blattner ostensibly contends that his plea was not knowing and voluntary because he was under

LSD’s influence. This factor therefore weighs against the Court granting the Motion.

       3.      The second factor -- the prejudice that Blattner’s withdrawal of his plea will pose

to the United States -- weighs against allowing Blattner to withdraw his plea. The charged

offenses in this case occurred more than three years ago on August 6, 2012, August 7, 2012, and

August 22, 2012. See United States’ Proposed Findings ¶ 168, at 19. The United States has

informed the Court that its evidence has diminished with the passage of time, as it would present

witness testimony against Blattner, and recollections have faded. The two cooperating witnesses

were going to testify in detail, and will now need to remember the details of events that took

                                              - 55 -
place more than three years ago. See United States’ Proposed Findings ¶ 169, at 19-20. The

United States will have to relocate the numerous lay and law enforcement witnesses --

approximately twenty-four -- who may have moved to other states, and law enforcement officers

who have retired. See United States’ Proposed Findings ¶ 170, at 20.

       4.      The Tenth Circuit has recognized that requiring the United States to try a case it

would not otherwise have to try, particularly when preparation for the trial will be difficult,

results in prejudice to the United States. See United States v. Jones, 168 F.3d 1217, 1220 (10th

Cir. 1999)(finding that allowing the defendant to withdraw his plea “could also prejudice the

government,” because the “government will face the presumably difficult task of locating

confidential informants”). Indeed, if every defendant were allowed to wait until the evidence

against him or her had grown stale, and was then permitted to withdraw a guilty plea, the United

States would be severely handicapped in its ability to prosecute criminal cases. On the other

hand, the United States maintains that it can prosecute this case. Also, the events of Blattner’s

underlying offense -- involving the possession of firearms in furtherance of a drug trafficking

crime -- are probably vivid in the witnesses’ memory and not easily forgotten. While this factor

does not weigh heavily in any one direction, it weighs in favor of not permitting Blattner to

withdraw his guilty plea.

       5.      The third factor -- whether Blattner delayed in filing his motion, and, if so, the

reason for the delay -- weighs against granting Blattner’s Motion. Blattner filed the Motion

approximately seven months after entering his plea, see Motion at 1, which is a significant

portion of time, and he has not provided a reason for the delay. Blattner could have requested a

withdrawal of his plea much earlier. See United States v. Kramer, 168 F.3d 1196, 1202 (10th

Cir. 1999)(recognizing that an eight-month delay and a motion to withdraw a guilty plea filed on



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“the eve of sentencing” constitute delay). This factor, thus, weighs against permitting Blattner to

withdraw his plea.

       6.      Turning to the fourth and seventh factors -- whether the withdrawal would

substantially inconvenience the Court or waste judicial resources -- the Court notes that there

will almost always be some inconvenience or resource allocation when a case that has settled

goes to trial. See United States v. Jim, 2011 WL 6013093, at *9. In previous cases, the Court

has recognized that the gravity of the defendant’s circumstances in a given case influences

whether “the withdrawal of his plea, and all that it implies, would substantially inconvenience

the Court or waste judicial resources.” United States v. Harmon, 871 F. Supp. 2d at 1172. See

United States v. Gould, 2006 WL 4061159, at *3 (same). Blattner pled guilty to a significant

charge and agreed to “a specific sentence of five (5) years imprisonment on Count 2; and twenty-

five (25) years of imprisonment on Count 5, which is to run consecutive to Count 2 for a total

term of thirty (30) years of imprisonment[.]” Plea Agreement ¶ 12(a), at 5. “The underlying

facts in this case do not appear particularly complex or suggest that the trial would require a

substantial amount of time.” United States v. Harmon, 871 F. Supp. 2d at 1173 (citing United

States v. Carr, 80 F.3d at 421).35 Any criminal trial is a lot of judicial work in a busy district like

New Mexico. On the other hand, the Court is in the justice business, not trying to avoid work. If

justice requires a trial, so be it. Nevertheless, the prospects for Blattner securing an acquittal

appear low. If the Court allows Blattner to withdraw his plea and this matter proceeds to trial,

the United States may have a difficult time cross-examining witnesses who may attempt to recant



       35
          The Tenth Circuit recognized in United States v. Carr that, while “[t]he anticipated
length and complexity of the government’s case . . . should not necessarily weigh against [a
defendant] since he originally had a right to a jury trial,” the “disruption of [the court’s] docket
and consequent delays in pending cases” justified this factor weighing against the defendant in
that case. United States v. Carr, 80 F.3d at 420-21.
                                                - 57 -
their previous statements, but Blattner has made admissions of guilt that the United States may

use against him at trial. Indeed, Blattner has agreed that his statements in the Plea Agreement

and at the plea hearing are admissible against him under rule 801(d)(2) of the Federal Rules of

Evidence in any subsequent proceeding or trial. See Plea Agreement ¶ 14, at 6; United States v.

Mitchell, 633 F.3d at 999-1002 (upholding a defendant’s waiver of any challenges to statements

made in a plea agreement). See Yazzie v. Mitchell, 998 F. Supp. 2d 1044, 1064-65 (D.N.M.

2014)(Browning, J.). It is very probable that the statements Blattner made in the Plea Agreement

and at the plea hearing will be admissible, and will be highly prejudicial; they probably will,

alone, defeat a directed verdict. The relevant portion of Blattner’s Plea Agreement states:

       Except under circumstances where the Court, acting on its own, rejects this plea
       agreement, the Defendant agrees that, upon the Defendant=s [sic] signing of this
       plea agreement, the facts that the Defendant has admitted under this plea
       agreement as set forth above, as well as any facts to which the Defendant admits
       in open court at the Defendant=s [sic] plea hearing, shall be admissible against the
       Defendant under Federal Rules of Evidence 801(d)(2)(A) in any subsequent
       proceeding, including a criminal trial, and the Defendant expressly waives the
       Defendant=s [sic] rights under Federal Rule of Criminal Procedure 11(f) and
       Federal Rule of Evidence 410 with regard to the facts the Defendant admits in
       conjunction with this plea agreement.

Plea Agreement ¶ 14, at 6. Moreover, if the United States is concerned that its evidence no

longer matches the Indictment, it can supersede the Indictment, probably coming up with

something that matches even Blattner’s latest version of events. In sum, the United States’ likely

ability to be nimble with the charges and Blattner’s admissions probably creates more problems

for Blattner than for the United States.

       7.      The Court has no sound basis to conclude that Blattner would receive a more

favorable sentence after trial than that which he has in the Plea Agreement, which is a very

favorable sentence. The Court concludes therefore, that allowing Blattner to withdraw his plea

will substantially inconvenience the Court and waste judicial resources, and this factor therefore

                                              - 58 -
counsels against permitting Blattner to withdraw his plea, particularly given the busy criminal

docket in the District of New Mexico. While treated sometimes as an eighth factor, a district

court may properly consider “the likelihood of conviction” when assessing whether to permit

withdrawal of a guilty plea. United States v. Carr, 80 F.3d at 421 n.5 (recognizing that the Tenth

Circuit has “suggested an additional factor to consider: the likelihood of conviction” (citing

United States v. Glover, 911 F.2d 419, 421 (10th Cir. 1990)).         The Court concludes that

consideration of likelihood of conviction is appropriate here -- either in the context of the two

factors whether withdrawal would substantially inconvenience the Court or whether withdrawal

would waste judicial resources, or as an additional factor -- and that, as described above, the

likelihood of conviction in this case is high. In sum, the Court concludes that the inconvenience

to the Court and waste of judicial resources would be severe, not because a trial would be so hard

on the Court, but because it would be a waste of time and get everyone to the same point that

Blattner is in today -- convicted. Thus, these factors weigh against withdrawal.

       125.    Looking to the fifth factor, the Court finds that Blattner had “close assistance of

counsel” before and during his plea hearing. The Court may consider whether a defendant was

represented by “skilled and respected counsel.” United States v. Siedlik, 231 F.3d at 750; United

States v. Byrum, 567 F.3d 1255, 1265 (10th Cir. 2009).           There is no evidence that Mr.

Kochersberger did not adequately prepare Blattner for the plea colloquy and to sign the Plea

Agreement.36 The Court has made a factual finding that, on the day of the plea hearing -- April



       36
         The Court has made a factual finding that “Blattner had not received or reviewed the
Plea Agreement before his arrival in court for the plea hearing on April 10, 2015.” Factual
Finding 70, supra at 18. See Nov. 23 Tr. at 38:12-39:24 (Blattner, Torrez). This factual finding
does not undermine the Court’s conclusion that Mr. Kochersberger -- a seasoned criminal
defense lawyer -- adequately prepared Blattner for the plea colloquy and to sign the Plea
Agreement. The Court often sees defense counsel arrive at the courthouse for a hearing at which
time they review the plea agreement with their client.
                                              - 59 -
10, 2015 -- Blattner informed Mr. Kochersberger that he was under LSD’s influence and “that

the windows looked to be an odd color or a pretty color, different than they actually appeared in

the courtroom.” Factual Finding 91, supra at 22; Dec. 9 Tr. at 37:3-20 (Court, Kochersberger).

See Nov. 23 Tr. at 45:2-46 (Blattner).       The Court has further found, however, that Mr.

Kochersberger did not believe Blattner that he was under LSD’s influence at the April 10, 2015,

plea hearing. See Factual Finding 92, supra at 23. Mr. Kochersberger is a skilled criminal

defense attorney in the District of New Mexico and the Court has complete confidence in his

abilities and professionalism. The Court has also made a factual finding that Blattner confirmed

to Chief Magistrate Judge Molzen “that he had had enough time to confer with Mr.

Kochersberger, that Mr. Kochersberger had answered all of his questions, and that he was

satisfied with Mr. Kochersberger’s representation.” Factual Finding 98, supra at 24. See Plea

Tr. at 17:8-25 (Blattner, Court). Although Blattner may not like the seriousness of the charges

against him, and indeed desires a lesser sentence, his dissatisfaction with his situation does not

mean that Mr. Kochersberger’s performance was deficient in any respect. Indeed, the level of

Mr. Kochersberger’s performance for Blattner has been quite high. Accordingly, this factor

weighs against allowing Blattner to withdraw his plea.

       8.      Last, the Court gives substantial weight to the sixth factor -- whether the plea was

knowingly and voluntarily given. See United States v. Yazzie, 407 F.3d at 1142. Blattner relies

heavily on this factor; indeed, it is the Motion’s focus. The Tenth Circuit has recognized that a

defendant’s guilty plea must be knowing, voluntary, and intelligent.        See United States v.

Libretti, 38 F.3d at 529. To enter a plea that is knowing and voluntary, a defendant must have “a

full understanding of what the plea connotes and of its consequence.” Boykin v. Alabama, 395

U.S. at 244. A defendant must understand only the plea’s “direct consequences.” United States



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v. Hurlich, 293 F.3d at 1230. Although Blattner makes a conclusory assertion that his plea was

not knowing or voluntarily given because he was under LSD’s influence, see Motion at 2-3, he

has provided the Court with no sound basis to conclude that he was under LSD’s influence, or

that he pleaded guilty without a full understanding of his plea and its consequences. The Court

has carefully considered Blattner’s extensive testimony in which he asserted that he acquired

LSD on April 9, 2015, ingested it, and was therefore under the drug’s influence at his plea

hearing. See Nov. 23 Tr. at 7:4-63:2 (Blattner, Court, Kochersberger, Torrez). At his April 10,

2015 plea hearing, however, Blattner, after being placed under oath: (i) informed the Court that

he had no serious physical or mental illnesses which could affect his ability to understand the

proceedings, Plea Tr. at 4:8-18 (Blattner); (ii) stated that he had “a little anxiety issue,” for which

he was not taking any medication, see Plea Tr. at 4:20-22 (Blattner); (iii) affirmed that he was

able to function during the hearing even with the “little” anxiety he had, Plea Tr. at 4:20-25

(Blattner); (iv) told Chief Magistrate Judge Molzen that he was not under the influence of any

drugs, medicines, or alcohol, see Plea Tr. at 5:1-3 (Blattner); and (v) told Chief Magistrate Judge

Molzen that he was able to understand everything that was happening, see Plea Tr. at 5:4-6

(Blattner). The Court has determined that Blattner was telling the truth at his April 10, 2015 plea

hearing and not telling the truth regarding his ingestion of LSD prior to the plea hearing, but

what is clear, without extensive analysis, is that he has not told the Court the truth at some point,

which seriously undermines his credibility.

       9.      Dr. Tella’s and Dr. Goldberg’s testimony do not provide clarity. As explained

above: (i) whether a person might exhibit any observable symptoms after ingesting LSD depends

on several factors, including their personality, expectations, dosage, and tolerance, see Nov. 23

Tr. at 78:10-19 (Tella); (ii) LSD’s physiological effects are not always manifested in those who



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have ingested the drug, and they are the same as, or very similar to, those exhibited by one who

is suffering from anxiety, see Dec. 2 Tr. at 30:15-31:11 (Goldberg, Kochersberger); (iii) most of

LSD’s physiological symptoms -- such as dilated pupils, elevated blood pressure, and dizziness,

in the absence of in-depth conversation or mood and emotional changes -- would not normally be

observable by a person coming into contact with an individual who is under LSD’s influence, see

Nov. 23 Tr. at 81:9-82:25 (Kochersberger, Tella); Dec. 2 Tr. at 31:4-32:4 (Goldberg,

Kochersberger); (iv) many of LSD’s physiological symptoms, such as dizziness, nausea, and

muscle weakness, would generally be undetectable unless either they were very extreme, or the

user informed someone that he or she was experiencing those symptoms, see Dec. 2 Tr. at 45:18-

46:6 (Goldberg); and (v) even quite perceptive observers may not know that someone,

particularly a seasoned drug user, is under LSD’s influence, see Dec. 2 Tr. at 31:24-32:4

(Goldberg, Kochersberger); id. at 45:3-17 (Goldberg, Torrez). Further, neither Dr. Tella nor Dr.

Goldberg could confirm, based on the recording37 of the plea hearing, that Blattner was or was

not under LSD’s influence on April 10, 2015. Moreover, Blattner’s anxiety during the plea

hearing and his laughing at arguably inappropriate times is as consistent with his history of

experiencing anxiety or acting inappropriately in court as it is with him being under LSD’s

influence.

       10.    Blattner has the burden to prove by a preponderance of the evidence that he was

under LSD’s influence at his plea hearing on April 10, 2015. The Court concludes that Blattner

has not produced sufficient evidence that pushes him over the finish line. Ultimately, Blattner




       37
         Dr. Tella and Dr. Goldberg listened to a recording of the April 10, 2015 plea hearing
during the evidentiary hearings that the Court held on the Motion. The Court listened to the
recording as well and has also closely examined the transcript from the April 10, 2015 plea
hearing, which is cited throughout this Memorandum Opinion and Order.
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was given the opportunity to identify the individual that allegedly provided him with the LSD,

but he refused to name his source.

       MR. TORREZ: And you were held -- you’ve indicated that you received LSD
       from another inmate. What is the name of that inmate?

       THE WITNESS: I would not reveal that information. I’m not going to get
       anybody in trouble.

       MR. TORREZ: I’m sorry?

       THE WITNESS: I’m not going to snitch somebody off, man. The point is that --

       MR. TORREZ: Your Honor, I ask that he be forced to answer the question.

       THE COURT: You have to answer the question.

       THE WITNESS: I’m not going to, obviously.

       THE COURT: Well, you have to.

       THE WITNESS: Well, I’m not going to incriminate somebody else, man. That’s
       not what I do. That’s not cool at all. You don’t throw your friends under this
       fucking guy’s --

       THE COURT: Tell us who.

       THE WITNESS: Ultimately, it’s irrelevant. I’m not incriminating somebody
       else.

       THE COURT: It’s not irrelevant.

       THE WITNESS: I’m not going to –

       THE COURT: Mr. Blattner, tell the Court who you got the LSD from.

       THE WITNESS: I’m not going to do that.

       THE COURT: What do you want me to do?

       THE WITNESS: That’s just not -- you know, that’s not –

       THE COURT: Hold on. I’m talking to Mr. Torrez. What do you want, Mr.
       Torrez?



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       MR. TORREZ: Your Honor, there is no way for us to verify these things unless
       we can get full and explicit –

       THE COURT: I understand your predicament. Tell me what to do.

       MR. TORREZ: I’d ask that the Court ask him once more and direct him to
       answer the question. Otherwise, consider the possibility of holding him in
       contempt or dismissing the motion for his failure to cooperate with the --

       THE WITNESS: That’s a good one.

       MR. TORREZ: -- the questioning in this case.

       THE COURT: Well, he’s obviously failing to cooperate in bringing his motion.
       So I’ll -- you know, I certainly -- if he’s not going to allow us to test his motion in
       any way, I’ll have to take that into consideration when I’m ruling on the motion.
       If I hold him in contempt – he’s already in custody, so I don’t know what I can
       really do to force him to testify. I’m open to suggestions.

       MR. TORREZ: May I have a moment, Your Honor?

       THE COURT: Certainly.

       (A discussion was held off the record.)

       THE WITNESS: This is ridiculous.

       MR. TORREZ: Well, Your Honor, in view of the fact that he will not answer the
       questions, and this is his motion, I’d ask the Court to consider striking his
       testimony.

       THE COURT: Well, I’m not going to strike his testimony. But obviously, if he’s
       not going to support it by telling us who he bought the LSD from, I think it really
       hurts his motion.

Nov. 23 Tr. at 33:24-36:18 (Blattner, Court, Torrez). If Blattner had named his source, it would

have enabled the Court to verify the story he now presents in the Motion, and it might have

pushed the ball over the finish line. Without evidence corroborating Blattner’s story, however,

the Court concludes that Blattner has not shown, by a preponderance of the evidence, that on

April 9, 2015 -- the day before Blattner’s April 10, 2015, plea hearing -- Blattner did not acquire

LSD from another inmate at the Santa Fe County Adult Detention Center and he was therefore

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not under LSD’s influence at his April 10, 2015 plea hearing. The Court determines, therefore,

that this factor counsels against allowing Blattner to withdraw his guilty plea.

       11.     On balance, the Court determines that Blattner has not met his burden of

demonstrating a “fair and just reason” for withdrawing his plea. United States v. Hickok, 907

F.2d at 985. No factor weighs in favor of allowing him to withdraw his plea. The Court

concludes that, in light of Blattner’s largely uncontested guilt, and the result which he has

received pursuant to the Plea Agreement, Blattner does not have a reasonable expectation of

better prospects at trial. “The plea of guilty is a solemn act not to be disregarded because of

belated misgivings about [its] wisdom.” United States v. Yazzie, 2013 WL 3270973, at *21

(D.N.M. June 4, 2013)(Browning, J.)(quoting United States v. Morrison, 967 F.2d at 268). The

Court appreciates LSD’s powerful effects and recognizes that, if Blattner were under LSD’s

influence at his plea hearing, that would cut in favor of permitting him to withdraw his plea.

Blattner has not proven, however, by a preponderance of the evidence that he was under LSD’s

influence at his hearing. The Court thus will not permit Blattner to withdraw his guilty plea.

       IT IS ORDERED that: the Defendant’s Motion to Withdraw Guilty Plea, filed October

29, 2015 (Doc. 148), is denied.



                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE


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